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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                             )
In re:                                                       )     Chapter 11
                                                             )
CURO Group Holdings Corp., et al.,                           )     Case No. 24-90165 (MI)
                                                             )
                                    Debtors.1                )     (Joint Administration Requested)
                                                             )     (Emergency Hearing Requested)

                DEBTORS’ EMERGENCY MOTION FOR ENTRY OF INTERIM
            AND FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO OBTAIN
           POSTPETITION FINANCING, (II) GRANTING LIENS AND PROVIDING
          CLAIMS WITH SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS,
         (III) AUTHORIZING THE USE OF CASH COLLATERAL, (IV) MODIFYING
            THE AUTOMATIC STAY AND (V) SCHEDULING A FINAL HEARING

          Emergency relief has been requested. Relief is requested not later than 1:30 p.m. (prevailing
          Central Time) on March 25, 2024.
          If you object to the relief requested or you believe that emergency consideration is not
          warranted, you must appear at the hearing if one is set, or file a written response prior to the
          date that relief is requested in the preceding paragraph. Otherwise, the Court may treat the
          pleading as unopposed and grant the relief requested.
          A hearing will be conducted on this matter on March 25, 2024, at 1:30 p.m. (prevailing Central
          Time) in Courtroom 404, 4th Floor, 515 Rusk Street, Houston, TX 77002. Participation at the
          hearing will only be permitted by audio and video connection.
          Audio communication will be by use of the Court’s dial-in facility. You may access the facility
          at 832-917-1510. Once connected, you will be asked to enter the conference room number.
          Judge Isgur’s conference room number is 954554. Video communication will be by use of the
          GoToMeeting platform. Connect via the free GoToMeeting application or click the link on
          Judge Isgur’s home page. The meeting code is “JudgeIsgur”. Click the settings icon in the
          upper right corner and enter your name under the personal information setting.
          Hearing appearances must be made electronically in advance of both electronic and in-person
          hearings. To make your appearance, click the “Electronic Appearance” link on Judge Isgur’s
          home page. Select the case name, complete the required fields and click “Submit” to complete
          your appearance.

          The above-captioned debtors and debtors in possession (collectively, the “Debtors”) state

the following in support of this motion (the “Motion”):



1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/Curo. The location of the Debtors’ service address
    for purposes of these chapter 11 cases is 101 N. Main Street, Suite 600, Greenville, SC 29601.



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                                             Relief Requested

        1.      By this Motion, the Debtors seek entry of an interim order, substantially in the form

attached hereto (the “Interim DIP Order”) and a final order2 (the “Final DIP Order”) and, together

with the Interim DIP Order, the “DIP Orders”):

                (i)      authorizing CURO Group Holdings Corp., a Delaware corporation, as
                         borrower (the “DIP Borrower”), to obtain, and the other Debtors3, as
                         guarantors (each, a “Guarantor”, and collectively, the “Guarantors” and the
                         Guarantors together with the DIP Borrower the “DIP Loan Parties”), to
                         guarantee, on a joint and several basis, the DIP Borrower’s obligations
                         under, a priming, senior secured, superpriority debtor-in-possession term
                         loan facility (the “DIP Facility”, and the commitments thereunder, the “DIP
                         Commitments”, and the term loans advanced (or deemed advanced)
                         thereunder, the “DIP Loans”) under that certain $70,000,000 Superpriority
                         Senior Secured Debtor-In-Possession Credit Facility Term Sheet (the “DIP
                         Term Sheet”) which shall be superseded prior to closing the Initial Draw (as
                         defined below) by that certain Superpriority Senior Secured Debtor-In-
                         Possession Credit Agreement, by and among the DIP Borrower, the
                         Guarantors, and the DIP Secured Parties (as defined below) (as the same
                         may be amended, restated, amended and restated, supplemented, or
                         otherwise modified from time to time pursuant to the terms thereof, the
                         “DIP Credit Agreement”), consisting of a “new money” multi-draw term
                         loan facility in an aggregate principal amount of $70,000,000, of which (i)
                         an initial draw amount of no more than $25,000,000 (the “Initial DIP
                         Loans”) will be made available to be drawn in a single drawing upon entry
                         of the Interim DIP Order (together with all annexes and exhibits hereto, the
                         “Interim DIP Order”) and satisfaction of the other applicable conditions to
                         any Initial DIP Loans set forth in the DIP Term Sheet (such initial draw, the
                         “Initial Draw”), (ii) an amount of, together with the amount of the Initial
                         Draw, no more than $50,000,000 (the “Second Draw DIP Loans”) will be
                         made available to be drawn in a single drawing upon entry of the Final DIP
                         Order (as defined below) and satisfaction of the other applicable conditions
                         to any Second Draw DIP Loans set forth in the DIP Credit Agreement (the
                         “Second Draw”) and (iii) subject to the consent of the Required DIP
                         Lenders (as defined in the DIP Term Sheet), an additional amount of no
                         more than $20,000,000 (the “Delayed Draw DIP Loans” and, together with
                         the Initial DIP Loans and the Second Draw DIP Loans, the “DIP Loans”)
                         may be drawn in up to two drawings, each of no more than $10,000,000,
                         upon entry of the Final DIP Order and the satisfaction or waiver of the other

2
    The Debtors will file the form of the Final DIP Order prior to the Final Hearing (as defined herein).
3
    The DIP Loan Parties shall not include LendDirect Corp. or CURO Canada Corp. (collectively, the “Canadian
    Debtors”) and none of the provisions of the DIP Term Sheet, the DIP Documents and the DIP Orders (as each is
    defined herein) shall apply to the Canadian Debtors.


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             applicable conditions to the Delayed Draw DIP Loans set forth in the DIP
             Credit Agreement (the “Delayed Draws”), which shall be funded by OCO
             ($7 million) and certain Prepetition 1L Lenders or their affiliates or related
             funds ($63 million), in their capacities as postpetition financing lenders
             (collectively, the “DIP Lenders”), pursuant to the terms and conditions set
             forth in (x) the DIP Credit Agreement, (y) the DIP Term Sheet attached as
             an exhibit to the RSA (as defined below) and attached hereto and (z) all
             agreements, documents, and instruments delivered or executed in
             connection with the DIP Credit Agreement, in each case reasonably
             satisfactory in form and substance to the Debtors, Alter Domus (US) LLC,
             as administrative agent and collateral agent for the DIP Lenders (in such
             capacities, the “DIP Administrative Agent” and the “DIP Collateral Agent”,
             as applicable, and, together, the “DIP Agent”, and the DIP Agent, together
             with the DIP Lenders, the “DIP Secured Parties”), and Required Backstop
             Parties (as defined in the DIP Term Sheet) (such agreements, documents,
             and instruments, including, without limitation, the DIP Credit Agreement
             and the DIP Term Sheet, collectively, the “DIP Documents”);

     (ii)    authorizing the Debtors to (i) execute and enter into the DIP Credit
             Agreement and the other DIP Documents, consistent in all respects with the
             DIP Term Sheet and (ii) to perform their respective obligations thereunder
             and to take all such other and further acts as may be necessary, appropriate,
             or desirable in connection with the DIP Credit Agreement and the other DIP
             Documents or the DIP Facility;

     (iii)   granting to the DIP Agent, for the benefit of itself and the other DIP Secured
             Parties, allowed superpriority administrative expense claims in each of the
             Cases and any successor cases, including any chapter 7 cases, with respect
             to the DIP Facility and all obligations and indebtedness owing thereunder
             and under the DIP Credit Agreement, the other DIP Documents and the
             Interim DIP Order (collectively, the “DIP Obligations”), subject to (i) the
             Superpriority Securitization Facilities Claims (as defined in the Inteim DIP
             Order), which claims shall be pari passu with the applicable superpriority
             claims granted to the DIP Agent hereunder, and (ii) the other priorities set
             forth herein;

     (iv)    granting to the DIP Agent, for the benefit of itself and the other DIP Secured
             Parties, automatically perfected priming security interests in, and liens on,
             with respect to the DIP Loans, all of the DIP Collateral (as defined below),
             including, but not limited to, Cash Collateral (as defined below) and the
             Prepetition Collateral (as defined below), in each case, to secure the DIP
             Loans and the other DIP Obligations, subject to (i) the Carve-Out (as
             defined below), (ii) the Securitization Liens (as defined in the Interim DIP
             Order) and (iii) the other terms and priorities set forth herein;

     (v)     authorizing the Debtors to incur and pay, on the terms set forth herein and
             in the DIP Documents, on a final and irrevocable basis, the principal,


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                     interest, premiums, fees, expenses, indemnities, and other amounts payable
                     under the Interim DIP Order and the DIP Documents as such amounts
                     become earned, due, and payable;

             (vi)    authorizing the Debtors, pursuant to Bankruptcy Code sections 105, 361,
                     362, 363, 503 and 507 to (i) use cash collateral, as such term is defined in
                     Bankruptcy Code section 363(a), and all other Prepetition Collateral (as
                     defined below), solely in accordance with the terms of the Interim DIP
                     Order, and (ii) grant adequate protection to the Prepetition Secured Parties
                     (as defined below) to the extent of any Diminution in Value (as defined
                     below) of their interests in the Prepetition Collateral (including Cash
                     Collateral);

             (vii)   modifying the automatic stay imposed by Bankruptcy Code section 362 to
                     the extent necessary to implement and effectuate the terms and provisions
                     of the Interim DIP Order;

             (viii) except to the extent of the Carve Out (as defined below), and subject to entry
                    of the Final DIP Order (as defined below) solely in respect of the Prepetition
                    Collateral, waiving of all rights to surcharge any Prepetition Collateral or
                    Collateral (as defined below) under Bankruptcy Code section 506(c) or any
                    other applicable principle of equity or law;

             (ix)    to the extent set forth herein, requiring the “equities of the case” exception
                     under Bankruptcy Code section 552(b) to not apply to any of the Prepetition
                     Secured Parties with respect to the proceeds, products, offspring, or profits
                     of any of the Prepetition Collateral under Bankruptcy Code section 552(b)
                     or any other applicable principle of equity or law, provided that with respect
                     to the Prepetition Secured Parties, the foregoing waiver shall be without
                     prejudice to any provisions of the Final DIP Order;

             (x)     scheduling a final hearing (the “Final Hearing”) to consider entry of a Final
                     DIP Order granting the relief requested in the Motion on a final basis;

             (xi)    waiving any applicable stay with respect to the effectiveness and
                     enforceability of the Interim DIP Order (including a waiver pursuant to
                     Bankruptcy Rule 6004(h)); and

             (xii)   granting related relief.

      2.     In support of this Motion, the Debtors submit the following (filed

contemporaneously herewith):




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                 (i)      the Declaration of Douglas Clark in Support of the Chapter 11 Petitions
                          and First Day Motions (the “First Day Declaration”);4 and

                 (ii)     the Declaration of Joe Stone (Oppenheimer & Co., Inc.) in Support of
                          (A) the Debtors’ DIP Financing Motion and (B) the Debtors’ Securitization
                          Facilities Motion (the “Oppenheimer Declaration”).

                                           Jurisdiction and Venue

        3.       The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b). The Debtors confirm their consent to the entry of a final order by

the Court.

        4.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        5.       The bases for the relief requested herein are sections 105(a), 363(b), 364, 506(a),

553, 1107 and 1108 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 6003

and 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 9013-1 of

the Local Bankruptcy Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Procedures for Complex Cases in the Southern District of Texas (the “Complex Case

Procedures”).

                                                  Background

        6.       On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their

businesses and managing their properties as debtors in possession pursuant to Bankruptcy Code

sections 1107(a) and 1108. Concurrently with the filing of this Motion, the Debtors filed a motion

requesting procedural consolidation and joint administration of these chapter 11 cases pursuant to



4
    All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the First
    Day Declaration or the proposed Interim DIP Order, as applicable.


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Bankruptcy Rule 1015(b). No request for the appointment of a trustee or examiner has been made

in these chapter 11 cases, and no official committees have been appointed or designated.

       7.      The Debtors and their non-Debtor affiliates (collectively, the “Company”) provide

consumer credit lending services across the U.S. and Canada. In the U.S., the Company operates

under several principal brands, including “Heights Finance,” “Southern Finance,” “Covington

Credit,” “Quick Credit,” and “First Heritage Credit.” In Canada, the Company operates under the

“Cash Money” and “LendDirect” brands through the Canadian Debtors. As of the Petition Date,

the Company operated approximately 400 store locations across 13 U.S. states and approximately

150 stores in eight Canadian provinces and had an online presence in eight Canadian provinces

and one territory. The Company generated approximately $672 million in total revenue for the

fiscal year 2023, and, as of the Petition Date, the Debtors had approximately $2.1 billion in

aggregate principal amount of prepetition funded debt obligations.

       8.      A description of the Debtors and their businesses, and the facts and circumstances

supporting this Motion, are set forth in the First Day Declaration filed contemporaneously with

this Motion and incorporated by reference herein.

                                    Preliminary Statement

       9.      The terms of the DIP Facility, including the budget restrictions, interest rate, and

fees, were negotiated at arm’s length and are, taken as a whole, fair and reasonable under the

circumstances of the Chapter 11 Cases. Further, the Debtors do not believe there are alternative

sources of financing currently available, much less any other sources available on both better and

executable terms than those being provided by the DIP Facility and the Securitization Facilities

(as defined below) on a combined basis. Moreover, the Debtors believe that the DIP Facility

permits the Debtors to avoid a costly and value-destructive priming fight.




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           10.      The DIP Facility and the Securitization Facilities are not just the best financing

currently available to the Debtors, but together with the proposed restructuring transactions

contemplated by the RSA (as defined below), provide the Debtors with a global settlement with

their key stakeholders that allows them to file prepackaged cases, with milestones designed to

shorten their stint in chapter 11 (as best as feasibly possible), and with a clear path to emerge from

the Chapter 11 Cases with a de-levered balance sheet, better positioned for long-term success.

      CONCISE STATEMENT PURSUANT TO COMPLEX CASE PROCEDURES AND
                         BANKRUPTCY RULE 40015

           11.      Pursuant to paragraph 8 of the Complex Case Procedures, the proposed DIP Facility

and/or Interim DIP Order contains the following provisions:

     Material Provision                                             Summary

    Sale or Plan            The DIP Credit Agreement will include the following milestones related to the Chapter
    Confirmation            11 Cases (the “Milestones”):
    Milestones              •         no later than 1 business day after the Petition Date, the Debtors shall have filed
                            the Plan and Disclosure Statement;
    Complex Case
    Procedures, ¶ 8(a)      •         no later than 3 business days after the Petition Date, the Bankruptcy Court shall
                            have entered the Interim DIP Order;
                            •         no later than 3 business days after the Petition Date, the Bankruptcy Court shall
                            have entered an interim order approving the Securitization Facilities Motion;
                            •         no later than 45 calendar days after the Petition Date, the Bankruptcy Court shall
                            have entered the Final DIP Order;
                            •         no later than 45 calendar days after the Petition Date the Court shall have entered
                            a final order approving the Securitization Facilities Motion;
                            •         no later than 50 calendar days after the Petition Date, the Bankruptcy Court shall
                            have entered an order confirming the Plan and approving the Disclosure Statement; and
                            •         no later than 120 calendar days after the Petition Date, the effective date of the
                            Plan shall have occurred.
                            DIP Term Sheet, § pp. 11-12 “Milestones”.

    Cross-
    Collateralization
                            N/A
    Complex Case
    Procedures, ¶ 8(b)




5
       Capitalized terms used in this summary chart but not otherwise defined have the meanings ascribed to them in
       the DIP Documents or the Interim DIP Order, as applicable.


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 Material Provision                                            Summary

Roll-Ups / Refinance
Complex Case           N/A
Procedures, ¶ 8(c)

Liens on Avoidance
                       Subject to the entry of the Interim DIP Order, the DIP Secured Parties will receive a lien
Actions or Proceeds
                       on the proceeds of Avoidance Actions (as defined in the Interim DIP Order), under
Thereof
                       Bankruptcy Code Chapter 5.
Complex Case
                       Interim DIP Order, ¶ 5.
Procedures, ¶ 8(d)
                       Usual and customary for debtor-in-possession financings and other events of default
Default Provisions
                       agreed to by CURO and the Required Backstop Parties.
and Remedies
Complex Case           The DIP Credit Agreement shall provide for customary remedies for an Event of Default
Procedures, ¶ 8(e)     that remains uncured including, but not limited to, the accrual of interest at the Default
                       Rate and relief from the automatic stay on customary terms for the Bankruptcy Court.
                       The occurrence of any of the following events, unless waived by the Required DIP
                       Lenders in accordance with the terms of the DIP Documents, shall constitute an event of
                       default (collectively, the “Events of Default”): (a) the failure of the Debtors to comply
                       with any of the Required Milestones (as defined below); or (b) the occurrence of an
                       “Event of Default” under the DIP Credit Agreement.
                       Immediately upon the occurrence and during the continuation of an Event of Default and
                       the delivery of the Carve Out Trigger Notice, notwithstanding the provisions of
                       Bankruptcy Code section 362, without any application, motion, or notice to, hearing
                       before, or order from the Court, but subject to the terms of the Interim DIP Order,
                       including, without limitation, the Remedies Notice Period (defined below), (x) the DIP
                       Agent (at the direction of the Required DIP Lenders) may declare (any such declaration
                       shall be referred to herein as a “Termination Declaration”) (i) all DIP Obligations owing
                       under the DIP Documents to be immediately due and payable, (ii) the termination,
                       reduction or restriction of any further commitment to extend credit to the Debtors to the
                       extent any such commitment remains under the DIP Facility, (iii) termination of the DIP
                       Facility and the DIP Documents as to any future liability or obligation of the DIP Agent
                       and the DIP Lenders, but without affecting any of the DIP Liens or the DIP Obligations,
                       and (iv) the application of the Carve Out through the delivery of the Carve Out Trigger
                       Notice to the DIP Borrower and (y) the DIP Agent (at the direction of the Required DIP
                       Lenders) may declare a termination (or reduction or restriction) on the ability of the
                       Debtors to use Cash Collateral (the date on which a Termination Declaration is delivered,
                       the “DIP Termination Date”) in which case such rights and remedies described in clauses
                       (x) and (y) as are set forth in the applicable Termination Declaration shall immediately
                       go into effect, provided, however, that during the Remedies Notice Period (as defined
                       below), the Debtors may use Cash Collateral solely to fund the Carve-Out and pay payroll
                       and other expenses critical to the administration of the Debtors’ estates strictly in
                       accordance with the Approved Budget, subject to Permitted Variances. The Termination
                       Declaration shall not be effective until notice has been provided by electronic mail (or
                       other electronic means) to counsel to the Debtors, counsel to a Committee (if appointed),
                       counsel to the Securitization Agents, and the U.S. Trustee.
                       Upon the occurrence of an Event of Default, the DIP Agent, (acting at the direction of the
                       Required DIP Lenders) and/or applicable Prepetition 1L Secured Parties, may file a
                       motion with the Court seeking emergency relief (a “Remedies Determination Hearing”)
                       on at least five (5) business days’ notice to the Debtors, the Securitization Agents, and the
                       U.S. Trustee, and the Debtors agree not to object to the shortening of notice of such



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 Material Provision                                           Summary
                      Remedies Determination Hearing. The “Remedies Notice Period” shall be defined as the
                      date commencing with the Termination Declaration through a Court determination at the
                      Remedies Determination Hearing. At such Remedies Determination Hearing, (x) the DIP
                      Agent (acting at the direction of the Required DIP Lenders) may seek Court approval to
                      exercise its rights and remedies (in addition to those rights and remedies set forth in
                      Paragraph 17(a) above) in accordance with the DIP Documents and the Interim DIP Order
                      to satisfy the DIP Obligations, DIP Superpriority Claims, and DIP Liens, subject to the
                      Carve Out and the Superpriority Securitization Facilities Claims, including the complete
                      termination of the use of Cash Collateral and (y) the applicable Prepetition Secured
                      Parties may seek to exercise their respective rights and remedies to the extent available in
                      accordance with the applicable Prepetition Secured Indebtedness Documents and the
                      Interim DIP Order with respect to the Debtors’ use of Cash Collateral. Upon a
                      Termination Declaration, the Debtors, the Committee (if appointed), and/or any party in
                      interest shall also be entitled to seek an emergency hearing with the Court for the sole
                      purpose of contesting whether an Event of Default has occurred or is continuing.
                      Nothing herein shall alter the burden of proof set forth in the applicable provisions of the
                      Bankruptcy Code at any hearing on any request by the Debtors or other party in interest
                      to re-impose or continue the automatic stay under Bankruptcy Code section 362(a), use
                      Cash Collateral, or to obtain any other injunctive relief. Any delay or failure of the DIP
                      Agent or the Prepetition 1L Agent to exercise rights under the DIP Documents, the Credit
                      Documents, the Intercreditor Agreements, or the Interim DIP Order shall not constitute a
                      waiver of their respective rights hereunder, thereunder or otherwise. The occurrence of
                      the DIP Termination Date shall not affect the validity, priority, or enforceability of any
                      and all rights, remedies, benefits, and protections provided to any of the DIP Secured
                      Parties or the Prepetition Secured Parties under the Interim DIP Order, which rights,
                      remedies, benefits, and protections shall survive the DIP Termination Date or the delivery
                      of a Termination Declaration.
                      Upon the termination of the DIP Facility in accordance with the terms of the Interim DIP
                      Order, all DIP Obligations shall be indefeasibly paid in cash.
                      DIP Term Sheet p. 12; Interim DIP Order, ¶¶ 15, 17.

Releases of Claims    Subject to the rights and limitations set forth in Paragraph 30 of the Interim DIP Order,
                      and effective upon entry of the Interim DIP Order, each of the Debtors and the Debtors’
Complex Case
                      estates, on its own behalf and on behalf of each of their predecessors, their successors,
Procedures, ¶ 8(f)
                      and assigns, shall, to the maximum extent permitted by applicable law, unconditionally,
                      irrevocably, and fully forever release, remise, acquit, relinquish, irrevocably waive, and
                      discharge each of the DIP Secured Parties and the Prepetition Secured Parties (each in
                      their respective roles as such), and each of their respective affiliates, former, current, or
                      future officers, employees, directors, agents, representatives, owners, members, partners,
                      financial and other advisors and consultants, legal advisors, shareholders, managers,
                      consultants, accountants, attorneys, affiliates and assigns, and predecessors and
                      successors in interest, each in their capacity as such, of and from any and all claims,
                      demands, liabilities, responsibilities, disputes, remedies, causes of action, indebtedness
                      and obligations, rights, assertions, allegations, actions, suits, controversies, proceedings,
                      losses, damages, injuries, attorneys’ fees, costs, expenses, or judgments of every type,
                      whether known, unknown, asserted, unasserted, suspected, unsuspected, accrued,
                      unaccrued, fixed, contingent, pending, or threatened, including, without limitation, all
                      legal and equitable theories of recovery, arising under common law, statute, or regulation
                      or by contract, of every nature and description that exist on the date hereof with respect
                      to or relating to the DIP Loans, the Prepetition 1L Loans, the Prepetition 1.5L Notes, the
                      Prepetition 2L Notes, the DIP Liens, the Prepetition Liens, the DIP Obligations, the
                      Prepetition Secured Indebtedness, the DIP Documents, the Prepetition 1L Credit



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 Material Provision                                             Summary
                        Documents, the Prepetition 1.5L Notes Documents, the Prepetition 2L Notes Documents,
                        or the Intercreditor Agreements, or the Interim DIP Order, as applicable, and/or the
                        transactions contemplated hereunder or thereunder including, without limitation, (i) any
                        so-called “lender liability” or equitable subordination claims or defenses, (ii) any and all
                        claims and causes of action arising under the Bankruptcy Code, and (iii) any and all
                        claims and causes of action regarding the validity, priority, extent, enforceability,
                        perfection, or avoidability of the liens or claims of the DIP Secured Parties or the
                        Prepetition Secured Parties; provided that nothing herein shall relieve the Released
                        Parties from fulfilling their obligations under the DIP Documents, the Prepetition 1L
                        Credit Documents, the Prepetition 1.5L Notes Documents, the Prepetition 2L Notes
                        Documents, the Intercreditor Agreements or the Interim DIP Order.
                        Interim DIP Order, ¶ 27-29.

Limitations on Use      Subject to the terms and conditions of the Interim DIP Order, the Court hereby authorizes
of Cash Collateral or   the Debtors’ use of the proceeds of the DIP Facility and Cash Collateral during the period
DIP Proceeds            beginning with the Petition Date and ending on the DIP Termination Date (as defined
                        below), in each case, solely and exclusively in a manner consistent with the Interim DIP
Complex Case
                        Order and the Approved Budget (subject to Permitted Variances), and for no other
Procedures, ¶ 8(g)
                        purposes.
                        As used in the Interim DIP Order: (i) “Approved Budget” means the last budget
                        delivered to and agreed with the DIP Agent acting at the direction of the Required DIP
                        Lenders prior to the Petition Date, including for the thirteen-week period reflected on the
                        budget attached as Exhibit 1 hereto, as such Approved Budget may be modified from time
                        to time by the Debtors subject to not receiving notice of an objection from the DIP Agent
                        acting at the direction of the Required DIP Lenders in their reasonable discretion as set
                        forth in Paragraph 7(e) of the Interim DIP Order; and (ii) “Budget Period” means the
                        rolling four-week (4-week) period set forth in the Approved Budget in effect at such time.
                        Notwithstanding anything to the contrary set forth in the Interim DIP Order, but subject
                        to the proviso in Paragraph 31, none of the DIP proceeds (the “DIP Proceeds”), the DIP
                        Collateral, the Prepetition Collateral, including Cash Collateral, or the Carve Out or
                        proceeds of the foregoing may be used for the payment of professional fees,
                        disbursements, costs, or expenses incurred by any person: (a) to investigate (including
                        by way of examinations or discovery proceedings), initiate, assert, prosecute, join,
                        commence, support, or finance the initiation or prosecution of any claim, counterclaim,
                        action, suit, arbitration, proceeding, application, motion, objection, defense, adversary
                        proceeding, or other litigation of any type (i) against any of the DIP Secured Parties or
                        the Prepetition Secured Parties (in their capacities as such), and each of their respective
                        affiliates, officers, directors, employees, agents, representatives, attorneys, consultants,
                        financial advisors, affiliates, assigns, or successors, with respect to any transaction,
                        occurrence, omission, action, or other matter (including formal discovery proceedings in
                        anticipation thereof), including, without limitation, any so-called “lender liability” claims
                        and causes of action, or seeking relief that would impair the rights and remedies of the
                        DIP Secured Parties under the DIP Documents or the Interim DIP Order or the Prepetition
                        Secured Parties under the Prepetition 1L Credit Documents, the Prepetition 1.5L Notes
                        Documents, or the Prepetition 2L Notes Documents (as applicable) or the Interim DIP
                        Order, including, without limitation, for the payment of any services rendered by the
                        professionals retained by the Debtors or any Committee appointed (if any) in these Cases
                        in connection with the assertion of or joinder in any claim, counterclaim, action, suit,
                        arbitration, proceeding, application, motion, objection, defense, adversary proceeding, or
                        other contested matter, the purpose of which is to seek, or the result of which would be to
                        obtain, any order, judgment, determination, declaration, or similar relief that would impair
                        the ability of any of the DIP Secured Parties to recover on the DIP Collateral or the



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  Material Provision                                               Summary
                          Prepetition Secured Parties to recover on the Prepetition Collateral or seeking affirmative
                          relief against any of the DIP Secured Parties related to the DIP Obligations or the
                          Prepetition Secured Parties related to the Prepetition Secured Indebtedness (excluding,
                          for the avoidance of doubt, filing and seeking approval of the Securitization Facilities
                          Motion); (ii) invalidating, setting aside, avoiding, or subordinating, in whole or in part,
                          the DIP Obligations or the Prepetition Secured Indebtedness, or the DIP Secured Parties’
                          and the Prepetition Secured Parties’ respective DIP Liens, Prepetition Liens or security
                          interests in the DIP Collateral or Prepetition Collateral, as applicable (excluding, for the
                          avoidance of doubt, filing and seeking approval of the Securitization Facilities Motion);
                          or (iii) for monetary, injunctive, or other affirmative relief against any of the DIP Secured
                          Parties, the Prepetition Secured Parties, or the DIP Secured Parties’ and the Prepetition
                          Secured Parties’ respective liens on or security interests in the DIP Collateral or the
                          Prepetition Collateral that would impair the ability of any of the DIP Secured Parties or
                          the Prepetition Secured Parties to assert or enforce any lien, claim, right, or security
                          interest or to realize or recover on the DIP Obligations or the Prepetition Secured
                          Indebtedness, to the extent applicable; (b) for objecting to or challenging in any way the
                          legality, validity, priority, perfection, or enforceability of the claims, liens, or interests
                          (including the DIP Liens and the Prepetition Liens) held by or on behalf of each of the
                          DIP Secured Parties and the Prepetition Secured Parties related to the DIP Obligations or
                          the Prepetition Secured Indebtedness, to the extent applicable; (c) for asserting,
                          commencing, or prosecuting any claims or causes of action whatsoever (including,
                          without limitation, any Avoidance Actions) related to the DIP Obligations, the DIP Liens,
                          the Prepetition Secured Indebtedness or the Prepetition Liens; or (d) for prosecuting an
                          objection to, contesting in any manner, or raising any defenses to, the validity, extent,
                          amount, perfection, priority, or enforceability of any of DIP Liens or the Prepetition Liens
                          or any other rights or interests of any of the DIP Secured Parties or the Prepetition Secured
                          Parties related to the DIP Obligations, the DIP Liens, the Prepetition Secured
                          Indebtedness or the Prepetition Liens, to the extent applicable; provided, that
                          notwithstanding the foregoing, an aggregate of $50,000 of the DIP Proceeds, the DIP
                          Collateral, or the Prepetition Collateral, including Cash Collateral, may be used for the
                          payment of professional fees, disbursements, costs, or expenses incurred by any
                          Committee to investigate potential Challenges.
                          Interim DIP Order ¶ 7, 31.

 Non-Consensual
 Priming Liens            N/A All priming liens are consensual.

 Complex Case
 Procedures, ¶ 8(h)

 Any Other Provision
 That Limits Estate
 Fiduciaries to Fulfill
 Duties                   N/A

 Complex Case
 Procedures, ¶ 8(i)


        12.      Each of the foregoing provisions is customary for DIP financings in cases of this

complexity and appropriate under the circumstances; in addition, the provisions were negotiated




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in good faith and at arm’s length and are part of the overall deal with respect to the DIP Facility

and RSA. Where possible, the Debtors have sought to defer the effectiveness of such provisions

to entry of a Final DIP Order to ensure that parties in interest have a full and fair opportunity to be

heard. Accordingly, the foregoing provisions should be approved.

         13.      Additionally, the following chart contains a summary of the material terms of the

proposed DIP Facility, with references to the applicable sections of the relevant documents.

  Material Provision                                              Summary

 Parties to the DIP      Borrower: CURO Group Holdings Corp.
 Term Sheet
                         Guarantors: The other Debtors in the Chapter 11 Cases that guarantee the Prepetition 1L
 Bankruptcy Rule         Term Loans, except in no event shall the Canadian Debtors be Guarantors.
 4001(c)(1)(B)
                         Agent: Alter Domus (US) LLC
                         Lenders: (a) OCO ($7 million) and (b) holders of Prepetition 1L Term Loans who, on or
                         prior to the DIP Joinder Deadline (as defined in the DIP Term Sheet), have (i) executed
                         the RSA and (ii) elected to provide DIP Commitments and DIP Loans ($63 million) (the
                         “DIP Lenders”).
                         DIP Term Sheet, p. 1.

 Term                    Unless converted to First-Out Takeback Term Loans (or, with respect to undrawn
                         Delayed Draw commitments, commitments to fund delayed-draw First-Out Takeback
 Bankruptcy Rule
                         Term Loans) pursuant to the Plan, all obligations under the DIP Loan Documents will be
 4001(b)(l)(B)(iii),
                         due and payable (and all commitments thereunder will terminate) in full in cash on the
 4001(c)(1)(B)
                         earliest of: (a) the date that is six (6) months after the Petition Date; (b) 45 calendar days
                         after the Petition Date if the Final DIP Order has not been entered by such date; (c) the
                         date of acceleration of such obligations in accordance with the DIP Credit Agreement and
                         the other DIP Loan Documents; (d) the effective date of any plan of reorganization or
                         liquidation in the Chapter 11 Cases; (e) the date on which the sale of all or substantially
                         all of the Debtors’ assets is consummated; (f) the date on which termination of the RSA
                         occurs; (g) the date the Bankruptcy Court converts any of the Chapter 11 Cases to a case
                         under chapter 7 of the Bankruptcy Code; (h) the date the Bankruptcy Court dismisses any
                         of the Chapter 11 Cases; and (i) the date an order is entered in any Chapter 11 Case
                         appointing a Chapter 11 trustee or examiner with enlarged powers.
                         DIP Term Sheet, p. 3.

 Commitment              The aggregate amount of the Term Loan Commitments as of the Closing Date is $70
                         million (which total, for the avoidance of doubt, does not include any reduction on
 Bankruptcy Rule
                         account of the Commitment Fee or the Backstop Fee payable pursuant to the terms of the
 4001(c)(1)(B)
                         DIP Term Sheet).
                         DIP Term Sheet, p. 1, 3, DIP Facility, DIP Conversion.

 Conditions of           The occurrence of the Closing Date and the Initial Draw shall be subject to the following
 Borrowing               conditions precedent:




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 Material Provision                                       Summary
Bankruptcy Rule       1.   (i) An interim order approving the DIP Facility in substantially the form attached
4001(c)(1)(B)              as Exhibit A to the DIP Term Sheet and otherwise subject to the consent rights
                           in Section 3.02 of the RSA (the “Interim DIP Order”) shall have been entered by
                           the Bankruptcy Court and shall not have been vacated, reversed, modified,
                           amended or stayed in any respect without the consent of the Required Backstop
                           Parties and (ii) no motion for reconsideration of the Interim DIP Order shall have
                           been timely filed by any Debtor or any subsidiary thereof.
                      2.   The DIP Agent shall have received from the Borrower and each of the
                           Guarantors (i) a counterpart of the DIP Loan Documents to be executed on the
                           Closing Date to which the Borrower or such Guarantor is a party signed on
                           behalf of such party or (ii) written evidence reasonably satisfactory to the DIP
                           Agent (which may include delivery of signed signature page(s) by facsimile or
                           other means of electronic transmission (e.g., “pdf” or DocuSign)) that such party
                           has signed a counterpart thereof, which DIP Loan Documents shall be in form
                           and substance consistent with the DIP Term Sheet and otherwise reasonably
                           satisfactory to the Borrower and the Required Backstop Parties.
                      3.   The DIP Agent shall have received a certificate of the Secretary or Assistant
                           Secretary or Director or similar officer or authorized signatory of the Borrower
                           and each of the Guarantors, dated as of the Closing Date and certifying a copy
                           of resolutions duly passed or adopted by the Board of Directors (or equivalent
                           governing body or committee thereof) of the Borrower or such Guarantor (or its
                           members, managing general partner or managing member), authorizing the
                           execution, delivery and performance of the DIP Loan Documents dated as of the
                           Closing Date to which such person is a party and, in the case of the Borrower,
                           the borrowings hereunder, and that such resolutions have not been modified,
                           rescinded or amended and are in full force and effect on the Closing Date.
                      4.   The absence of any event, circumstance or condition occurring since the date
                           hereof that has had, or would reasonably be expected to have, a material and
                           adverse effect on (a) the business or condition (financial or otherwise),
                           performance, properties, contingent liabilities or material agreements of the
                           Borrower and each Subsidiary, taken as a whole, (b) the ability of the Borrower
                           and the Guarantors, taken as a whole, to perform their payment obligations under
                           the DIP Loan Documents or (c) the rights and remedies of the DIP Agent and
                           the DIP Lenders under the DIP Loan Documents, in each case under clauses (a)
                           and (b), excluding (i) any matters publicly disclosed in writing or disclosed to
                           the DIP Agent and the DIP Lenders in writing prior to the Agreement Effective
                           Date (as defined in the RSA), (ii) any matters disclosed in any first day pleadings
                           or declarations filed in the Chapter 11 Cases, (iii) the filing of the Chapter 11
                           Cases, (iv) the events and conditions related and/or leading up to the filing of the
                           Chapter 11 Cases and the effects resulting from, or related to, the filing of the
                           Chapter 11 Cases or such events and conditions related and/or leading up thereto,
                           and (v) the continuation and prosecution of the Chapter 11 Cases, including,
                           without limitation, any action required to be taken under the DIP Loan
                           Documents, the DIP Orders or the RSA (any of the foregoing in clauses (a)
                           through (c), subject to the exclusions specified in clauses (i) through (v), being
                           a “Material Adverse Change”).
                      5.   All necessary governmental and third party consents and approvals necessary in
                           connection with the DIP Facility and the transactions contemplated thereby shall
                           have been obtained (without the imposition of any materially adverse conditions
                           that are not acceptable to the Required Backstop Parties) and shall remain in
                           effect; and the making of the loans under the DIP Facility shall not violate any



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Material Provision                                       Summary
                          material applicable requirement of law and shall not be enjoined temporarily,
                          preliminarily or permanently.
                     6.   The DIP Agent, the DIP Lenders and the fronting lender, if any, shall have
                          received all fees payable hereunder or under any DIP Loan Documents on or
                          prior to the Closing Date and, to the extent invoiced at least one (1) business day
                          prior to the Closing Date and required to be paid under the DIP Loan
                          Documentation and the Interim DIP Order on or prior to the Closing Date,
                          reimbursement or payment of all reasonable and documented out-of-pocket
                          expenses (including, without limitation, the reasonable and documented fees and
                          out-of-pocket expenses of (a) Wachtell, Lipton, Rosen & Katz, counsel to the
                          Ad Hoc Group and to the DIP Agent and (b) such other advisors as are necessary
                          or appropriate, shall be paid (or will be paid from the proceeds of the DIP Loans).
                     7.   The RSA shall be in full force and effect and shall not have been amended or
                          modified in a fashion that is materially adverse to the DIP Lenders and no event
                          permitting termination of the RSA with respect to the Consenting Stakeholders
                          pursuant to Section 11.01 of the RSA shall have occurred and be continuing, in
                          each case, unless consented to by the Required Backstop Parties.
                     8.   To the extent requested at least ten (10) business days before the Closing Date,
                          the Borrower shall have provided to the DIP Agent and the fronting lender, if
                          any, the documentation and other information so requested in connection with
                          applicable “know your customer” and anti-money-laundering rules and
                          regulations, including the USA PATRIOT Act, in each case at least three (3)
                          business days prior to the Closing Date.
                     9.   At least three days in advance of the Closing Date, the DIP Agent and the
                          fronting lender, if any, shall have received a beneficial ownership certificate in
                          relation to any Borrower or Guarantor to the extent the Borrower or such
                          Guarantor qualifies as a “legal entity customer”.
                     10. The Backstop Commitment Parties shall have received the Budget and, except
                         as reasonably acceptable to the Required Backstop Parties, such Budget shall be
                         substantially consistent with the budget attached as Exhibit 1 to the form of
                         Interim DIP Order attached as Exhibit A to the DIP Term Sheet.
                     11. The DIP Agent shall have received a customary certificate of a financial officer
                         of the Borrower satisfactory to the Required Backstop Parties (it being
                         understood, that a certificate substantially consistent with the equivalent
                         certificate delivered in connection with the First Lien Credit Agreement shall be
                         considered satisfactory), dated as of the Closing Date and confirming
                         compliance with the conditions precedent set forth in Schedule A (other than any
                         matters which are to be delivered by, provided by, or subject to the satisfaction
                         of, any party other than the Borrower and the Guarantors) and the Draw
                         Conditions.
                     12. The Chapter 11 Cases shall have been commenced by the Debtors and the same
                         shall each be a debtor and a debtor-in-possession.
                     13. The Chapter 11 Cases of the Debtors shall not have been dismissed or converted
                         to cases under Chapter 7.
                     14. No trustee under chapter 7 or chapter 11 shall have been appointed in the Chapter
                         11 Cases.




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Material Provision                                             Summary
                         15. After giving effect to the Interim DIP Order, the DIP Agent shall have a valid
                             and perfected lien on and security interest in the DIP Collateral in the manner
                             and with the priority set forth in the DIP Term Sheet.
                         16. (a) Amendments and waivers with respect to each of the Securitization Facilities,
                             providing for continued performance under such Securitization facilities both
                             during the Chapter 11 Cases and following the effective date of the Plan, in form
                             and substance satisfactory to the Required Backstop Parties (the “Securitization
                             Facility Amendments”), (i) shall have been entered into by all parties thereto,
                             (ii) shall remain in full force and effect and (iii) shall not have been amended or
                             modified and (b) no default, event of default or other similar event shall have
                             occurred and be continuing under any of the Securitization Facilities, as
                             amended by the Securitization Facility Amendments, in each case without the
                             consent of the Required Backstop Parties.
                         17. Any orders approving the Securitization Facilities (including, without limitation,
                             any amendments, supplements or other modifications thereto and any
                             forbearance arrangements with respect thereof) shall be in form and substance
                             satisfactory to the Required Backstop Parties.
                     The Second Draw and the Delayed Draws shall be subject to the following conditions
                     precedent:
                         1.   (i) A final order approving the DIP Facility, which shall contain customary
                              modifications to the Interim DIP Order to reflect the final nature of the approval
                              set forth therein and shall otherwise be reasonably acceptable to the Required
                              DIP Lenders (the “Final DIP Order”), shall have been entered by the Bankruptcy
                              Court and shall not have been vacated, reversed, modified, amended or stayed in
                              any respect without the consent of the Required DIP Lenders and (ii) no motion
                              for reconsideration of the Final DIP Order shall have been timely filed by any
                              Debtor or any subsidiary thereof.

                         2.   The RSA shall be in full force and effect and shall not have been amended or
                              modified in a fashion that is materially adverse to the DIP Lenders and no event
                              permitting termination of the RSA with respect to the Consenting Stakeholders
                              pursuant to Section 11.01 of the RSA shall have occurred and be continuing, in
                              each case, unless consented to by the Required DIP Lenders.

                         3.   (a) The Securitization Facility Amendments, (i) shall have been entered into by
                              all parties thereto, (ii) shall remain in full force and effect and (iii) shall not have
                              been amended or modified and (b) no default, event of default or other similar
                              event shall have occurred and be continuing under any of the Securitization
                              Facilities, as amended, supplemented or otherwise modified by such
                              amendments and waivers, in each case without the consent of the Required DIP
                              Lenders.

                         4.   Any orders approving the Securitization Facilities (including, without limitation,
                              any amendments, supplements or other modifications thereto and any
                              forbearance arrangements with respect thereof) shall be in form and substance
                              satisfactory to the Required DIP Lenders.
                     On each date of the Initial Draw, the Second Draw or a Delayed Draw, as applicable, (i)
                     immediately after giving effect to the Initial Draw, the Second Draw or the applicable
                     Delayed Draw, as applicable, no default or event of default under the DIP Documents
                     shall have occurred and be continuing, (ii) each of the representations and warranties set
                     forth in the DIP Documents shall be true and correct in all material respects on and as of



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 Material Provision                                             Summary
                      the date of the Initial Draw, the Second Draw or the applicable Delayed Draw, as
                      applicable, with the same effect as though made on and as of such date, except to the
                      extent such representations and warranties expressly relate to an earlier date (in which
                      case such representations and warranties shall be true and correct in all material respects
                      on and as of such earlier date); provided that any representation and warranty that is
                      qualified as to “materiality”, “Material Adverse Effect” or similar language shall be true
                      and correct (after giving effect to any qualification therein) in all respects and (iii) the DIP
                      Agent shall have received a borrowing notice in accordance with the DIP Documents
                      (collectively, the “Draw Conditions”).
                      The Delayed Draws shall also be subject to the consent of the Required DIP Lenders.
                      DIP Term Sheet, p. 9, Exhibits A and B.

Interest Rates        The Debtors shall pay interest at a rate of S + 10.00% (payable in kind), and subject to a
                      2.50% SOFR floor.
Bankruptcy Rule
4001(c)(1)(B)         DIP Term Sheet, p. 4.

Use of Proceeds       Subject to the terms and conditions of the Interim DIP Order, the Interim DIP Order
                      authorizes the Debtors’ use of the proceeds of the DIP Facility and Cash Collateral during
Bankruptcy Rule
                      the period beginning with the Petition Date and ending on the Termination Date (as
4001(b)(l)(B)(ii)
                      defined below), in each case, solely and exclusively in a manner consistent with the
                      Interim DIP Order and the Approved Budget (subject to Permitted Variances), and for no
                      other purposes.
                      As used in the Interim DIP Order: (i) “Approved Budget” means the last budget delivered
                      to and agreed with the DIP Agent acting at the direction of the Required DIP Lenders
                      prior to the Petition Date, including for the thirteen-week period reflected on the budget
                      attached as Exhibit 1 to the Interim DIP Order, as such Approved Budget may be modified
                      from time to time by the Debtors subject to not receiving notice of an objection from the
                      DIP Agent acting at the direction of the Required DIP Lenders in their reasonable
                      discretion as set forth in Paragraph 7(e) of the Interim DIP Order; and (ii) “Budget Period”
                      means the rolling four-week (4-week) period set forth in the Approved Budget in effect
                      at such time.
                      Notwithstanding anything to the contrary set forth in the Interim DIP Order, but subject
                      to the proviso below, none of the DIP Proceeds, the DIP Collateral, the Prepetition
                      Collateral, including Cash Collateral, or the Carve Out or proceeds of the foregoing may
                      be used for the payment of professional fees, disbursements, costs, or expenses incurred
                      by any person: (a) to investigate (including by way of examinations or discovery
                      proceedings), initiate, assert, prosecute, join, commence, support, or finance the initiation
                      or prosecution of any claim, counterclaim, action, suit, arbitration, proceeding,
                      application, motion, objection, defense, adversary proceeding, or other litigation of any
                      type (i) against any of the DIP Secured Parties or the Prepetition Secured Parties (in their
                      capacities as such), and each of their respective affiliates, officers, directors, employees,
                      agents, representatives, attorneys, consultants, financial advisors, affiliates, assigns, or
                      successors, with respect to any transaction, occurrence, omission, action, or other matter
                      (including formal discovery proceedings in anticipation thereof), including, without
                      limitation, any so-called “lender liability” claims and causes of action, or seeking relief
                      that would impair the rights and remedies of the DIP Secured Parties under the DIP
                      Documents or the Interim DIP Order or the Prepetition Secured Parties under the
                      Prepetition 1L Credit Documents, the Prepetition 1.5L Notes Documents, or the
                      Prepetition 2L Notes Documents (as applicable) or the Interim DIP Order, including,
                      without limitation, for the payment of any services rendered by the professionals retained
                      by the Debtors or any Committee appointed (if any) in these Cases in connection with the



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 Material Provision                                            Summary
                      assertion of or joinder in any claim, counterclaim, action, suit, arbitration, proceeding,
                      application, motion, objection, defense, adversary proceeding, or other contested matter,
                      the purpose of which is to seek, or the result of which would be to obtain, any order,
                      judgment, determination, declaration, or similar relief that would impair the ability of any
                      of the DIP Secured Parties to recover on the DIP Collateral or the Prepetition Secured
                      Parties to recover on the Prepetition Collateral or seeking affirmative relief against any of
                      the DIP Secured Parties related to the DIP Obligations or the Prepetition Secured Parties
                      related to the Prepetition Secured Indebtedness; (ii) invalidating, setting aside, avoiding,
                      or subordinating, in whole or in part, the DIP Obligations or the Prepetition Secured
                      Indebtedness, or the DIP Secured Parties’ and the Prepetition Secured Parties’ respective
                      DIP Liens, Prepetition Liens or security interests in the DIP Collateral or Prepetition
                      Collateral, as applicable; or (iii) for monetary, injunctive, or other affirmative relief
                      against any of the DIP Secured Parties, the Prepetition Secured Parties, or the DIP Secured
                      Parties’ and the Prepetition Secured Parties’ respective liens on or security interests in the
                      DIP Collateral or the Prepetition Collateral that would impair the ability of any of the DIP
                      Secured Parties or the Prepetition Secured Parties to assert or enforce any lien, claim,
                      right, or security interest or to realize or recover on the DIP Obligations or the Prepetition
                      Secured Indebtedness, to the extent applicable; (b) for objecting to or challenging in any
                      way the legality, validity, priority, perfection, or enforceability of the claims, liens, or
                      interests (including the DIP Liens and the Prepetition Liens) held by or on behalf of each
                      of the DIP Secured Parties and the Prepetition Secured Parties related to the DIP
                      Obligations or the Prepetition Secured Indebtedness, to the extent applicable; (c) for
                      asserting, commencing, or prosecuting any claims or causes of action whatsoever
                      (including, without limitation, any Avoidance Actions) related to the DIP Obligations, the
                      DIP Liens, the Prepetition Secured Indebtedness or the Prepetition Liens; or (d) for
                      prosecuting an objection to, contesting in any manner, or raising any defenses to, the
                      validity, extent, amount, perfection, priority, or enforceability of any of DIP Liens or the
                      Prepetition Liens or any other rights or interests of any of the DIP Secured Parties or the
                      Prepetition Secured Parties related to the DIP Obligations, the DIP Liens, the Prepetition
                      Secured Indebtedness or the Prepetition Liens, to the extent applicable; provided, that
                      notwithstanding the foregoing, an aggregate of $50,000 of the DIP Proceeds, the DIP
                      Collateral, or the Prepetition Collateral, including Cash Collateral, may be used for the
                      payment of professional fees, disbursements, costs, or expenses incurred by any
                      Committee to investigate potential Challenges.
                      DIP Term Sheet, p. 4.

Entities with         The Prepetition 1L Secured Parties, the Prepetition 1.5L Secured Parties, and the
Interests in Cash     Prepetition 2L Secured Parties (each as defined in the Interim DIP Order).
Collateral
                      Interim DIP Order, ¶ 4.
Bankruptcy Rule
4001(b)(l)(B)(i)

Fees                  In exchange for the Backstop Commitments, the Backstop Commitment Parties shall
                      receive a premium equal to 5.00% of the initial Backstop Commitments (the “Backstop
Bankruptcy Rule
                      Premium”), which shall be fully earned upon entry of the Interim DIP Order and paid (i)
4001(c)(1)(B)
                      to the extent the Plan is consummated, in equity at a 25% discount to the implied equity
                      value provided by the Plan upon effectiveness of the Plan, and (ii) otherwise in cash upon
                      payment in full of the DIP Claims, in each case ratably based on each of the Backstop
                      Commitment Parties’ respective Backstop Commitments. For the avoidance of doubt,
                      only the Backstop Commitment Parties shall be entitled to receive the Backstop Premium.
                      Any fronting/seasoning fees incurred by the DIP Lenders will be paid out of the proceeds
                      of the DIP Loans.



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 Material Provision                                            Summary
                       In addition to the Backstop Fee, the Debtors shall pay to all DIP Lenders, ratably,
                       (i) an upfront fee of 3.00% of all amounts drawn under the DIP Facility, payable in kind,
                       and
                       (ii) an exit fee of 10.00% of the aggregate principal amount of the DIP Facility (including
                       any amounts paid in kind), (a) in the case of the consummation of the Plan and the
                       conversion of the DIP Loans, with 5.00% payable in kind as additional Takeback Term
                       Loans and 5.00% payable in equity of Reorganized CURO at a 25% discount to implied
                       Plan equity value, and (b) otherwise, payable in cash upon satisfaction in full of the DIP
                       Claims.
                       DIP Term Sheet, pp. 4, 12.

Budget                 The use of DIP Facility and Cash Collateral proceeds is subject to a 13-week budget,
                       which is attached to the Interim DIP Order as Schedule 1.
Bankruptcy Rule 4001
(c)(1)(B)              Interim DIP Order, Schedule 1.

Reporting              Usual and customary for debtor-in-possession financings of this type and in form and
Information            substance acceptable to the Debtors and the Required Backstop Parties, including, but not
                       limited to, (i) updates of the Budget every 4 weeks (updated Budget to be acceptable to
Bankruptcy Rule
                       Required DIP Lenders) with the first such update due on April 19, 2024, (ii) a bi-weekly
4001(c)(l)(B)
                       report (with the first such report due on April 11, 2024 with respect to the period ending
                       April 5, 2024 and thereafter 4 business days after the end of each succeeding two-week
                       period ending on Friday of the applicable calendar week) comparing the Budget for the
                       most recently ended Test Period to actual results for such Test Period for each line item
                       in a form to be attached to the DIP Credit Agreement and otherwise reasonably acceptable
                       to the Required DIP Lenders and the Debtors, with management commentary on any
                       individual line item with a positive or negative variance of 10.0% or more as compared
                       to the Budget (unless the dollar amount corresponding to such percentage variance is less
                       than $1,000,000, in which case no management commentary shall be required); (iii)
                       monthly delivery (within 5 calendar days after the end of the applicable calendar month)
                       of operating reports for the Debtors in a form consistent with the reports that have been
                       provided to holders of the Prepetition First Lien Indebtedness prior to the date hereof
                       (subject to such modifications agreed with the Required Backstop Parties), (iv) quarterly
                       and annual financial reporting consistent with the Credit Agreement and (v) commercially
                       reasonable efforts to report (which reports may be delivered by email) unrestricted cash
                       of the Borrower and its Subsidiaries as of end of each calendar day within 24 hours of the
                       end of such day; provided that such cash balance is solely based on the online viewing of
                       the Borrower and its Subsidiaries’ bank accounts and may not include cash in transit.
                       DIP Term Sheet p. 7.
                       The Debtors’ actual cumulative cash flow, based on actual “Operating Disbursements”
Variance Covenant
                       (which shall not include professional fees) and actual “Operating Receipts”, during each
Bankruptcy Rule        Test Period shall not be less than 85% of the projected cumulative cash flow, based on
4001(c)(l)(B)          projected “Operating Disbursements” (which shall not include professional fees) and
                       projected “Operating Receipts”, for such Test Period as set forth in the Budget.

                       “Test Period” shall mean, with respect to actual cash receipts and operating cash
                       disbursements, (x) initially, the four-week period following the Petition Date and (y)
                       thereafter, each rolling four-week period ending two weeks after the last day of the
                       previous Test Period.
                       DIP Term Sheet, p. 10.




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 Material Provision                                             Summary

Chapter 11             The DIP Credit Agreement will include the following milestones related to the Chapter
Milestones             11 Cases (the “Milestones”):
Bankruptcy Rule        •         no later than 1 business day after the Petition Date, the Debtors shall have filed
4001(c)(1)(B)          the Plan and Disclosure Statement;
                       •         no later than 3 business days after the Petition Date, the Bankruptcy Court shall
                       have entered the Interim DIP Order;
                       •         no later than 3 business days after the Petition Date, the Bankruptcy Court shall
                       have entered an interim order approving the Securitization Facilities Motion;
                       •         no later than 45 calendar days after the Petition Date, the Bankruptcy Court shall
                       have entered the Final DIP Order;
                       •         no later than 45 calendar days after the Petition Date the Court shall have entered
                       a final order approving the Securitization Facilities Motion;
                       •         no later than 50 calendar days after the Petition Date, the Bankruptcy Court shall
                       have entered an order confirming the Plan and approving the Disclosure Statement; and
                       •         no later than 120 calendar days after the Petition Date, the effective date of the
                       Plan shall have occurred.
                       DIP Term Sheet, p. 7 .

Liens and Priorities   Subject and subordinate to the Carve Out and to the provisions set forth in Paragraph 5 of
                       the Interim DIP Order, effective immediately upon entry of the Interim DIP Order and
Bankruptcy Rule
                       perfected automatically hereunder as of the Petition Date and without the necessity of the
4001(c)(l)(B)(i)
                       execution by the Debtors (or recordation or other filing) of security agreements, control
                       agreements, pledge agreements, financing statements, mortgages or other similar
                       documents, or by possession or control, the DIP Obligations shall be secured by valid,
                       binding, continuing, enforceable, fully-perfected, non-avoidable, automatically and
                       properly perfected liens on, and security interests in (such liens and security interests, the
                       “DIP Liens”) all (i) the Prepetition Collateral and (ii) all of the DIP Borrower’s and the
                       Guarantors’ other now-owned and hereafter-acquired real and personal property, assets
                       and rights of any kind or nature, wherever located, whether encumbered or
                       unencumbered, including, without limitation, all prepetition property and postpetition
                       property of the DIP Borrower and Guarantors’ estates, and the proceeds, products, rents
                       and profits thereof, whether arising from Bankruptcy Code section 552(b) or otherwise,
                       including, without limitation, all equipment, goods, accounts, cash, payment intangibles,
                       bank accounts and other deposit or securities accounts of the DIP Borrower and the
                       Guarantors (including any accounts opened prior to, on, or after the Petition Date),
                       insurance, equity interests, intercompany claims, accounts receivable, other rights to
                       payment, general intangibles, contracts, securities, chattel paper, interest rate hedging
                       agreements, owned real estate, real property leaseholds, fixtures, patents, copyrights,
                       trademarks, trade names, rights under license agreements and other intellectual property,
                       causes of action (other than those arising under Bankruptcy Code sections 544, 547, 548
                       and 549 and any related action under Bankruptcy Code section 550 (the “Avoidance
                       Actions”)), and any and all proceeds, products, rents, and profits of the foregoing, and
                       proceeds of Avoidance Actions (all property identified in Paragraph 5 of the Interim DIP
                       Order, subject to the following provisos, being collectively referred to as the “DIP
                       Collateral”); provided that, for the avoidance of doubt and notwithstanding anything to
                       the contrary herein, the DIP Collateral shall exclude (i) all Excluded Assets (as defined
                       in the DIP Credit Agreement), (ii) any of the foregoing to the extent a lien cannot attach
                       to such property, assets or rights pursuant to applicable law, provided the liens granted
                       pursuant to the Interim DIP Order shall, attach to the Debtors’ economic rights, including,
                       without limitation, any and all proceeds of the foregoing, and (iii) (x) any and all



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Material Provision                                            Summary
                     Receivables originated and sold pursuant to the Securitization Facilities to the Non-
                     Debtor Purchasers (including any such Receivables purported to be sold pursuant to the
                     Securitization Facilities but subsequently avoided or recharacterized as an extension of
                     credit or a pledge) prepetition or postpetition and any proceeds thereof and (y) any claims
                     or causes of action held by the Non-Debtor Purchasers arising on account of transfers of
                     Receivables to the Non-Debtor Purchasers (the assets described in this clause (iii),
                     “Transferred Receivables Assets”). The DIP Agent shall have a security interest in any
                     residual cash balance remaining in the Carve Out Reserves (as defined below) after all
                     obligations benefitting from the Carve Out have been indefeasibly paid in full in cash
                     pursuant to a final non-appealable order of this Court (or such other Court of competent
                     jurisdiction), which residual balance shall be paid to the DIP Agent for application in
                     accordance with the DIP Credit Agreement (such security interest on residual cash
                     balances remaining in the Carve Out Reserves, the “Carve Out Security Interest”). The
                     Carve Out shall be senior to the DIP Liens, the Prepetition Liens, the Adequate Protection
                     Liens and any and all other forms of adequate protection, liens, or claims securing the
                     DIP Obligations or the Prepetition Secured Indebtedness whatsoever. The DIP Liens will
                     otherwise have the following priorities:

                     Pursuant to Bankruptcy Code section 364(c)(2), a valid, binding, continuing, enforceable,
                     non-avoidable, automatically fully-perfected, first-priority senior security interest in and
                     lien upon all of the DIP Collateral, whether existing on the Petition Date or thereafter
                     created, acquired or arising, and wherever located, that, on or as of the Petition Date, is
                     not subject to Prepetition Liens or any other valid, perfected, and non-avoidable liens (or
                     perfected after the Petition Date to the extent permitted by Bankruptcy Code section
                     546(b)), subject and subordinate only to (x) the Carve Out, and as to the Carve Out
                     Reserves and funds therein, to the extent of any Carve Out Security Interest, and (y) the
                     Receivables Liens (as defined in the Interim Securitization Order) (which shall apply
                     solely to all rights of the Originators (as defined in the Interim Securitization Order) in
                     the Receivables originated and purported to be sold through the Securitization Facilities
                     on or after the Petition Date, whether existing on the Petition Date or thereafter arising or
                     acquired) and the Pledge Liens (as defined in the Interim Securitization Order) (which
                     apply solely to all limited liability company interests and all other equity interests in each
                     case in the respective Non-Debtor Purchasers, and all proceeds and products thereof)
                     (collectively, the “Securitization Liens”); and

                     Pursuant to Bankruptcy Code section 364(d)(1), a valid, binding, continuing, enforceable,
                     non-avoidable, automatically fully perfected, first-priority senior priming security interest
                     and lien (the “Priming Liens”) on all DIP Collateral, whether in existence on the Petition
                     Date or thereafter created, acquired, or arising, and wherever located, to the extent that
                     such DIP Collateral is subject to any of the Prepetition Liens or any other valid, perfected,
                     and non-avoidable liens (or perfected after the Petition Date to the extent permitted by
                     Bankruptcy Code section 546(b)), subject and subordinate only to the Carve Out and to
                     the Permitted Prior Liens and as to the Carve Out Reserves, and funds therein, to the
                     extent of any Carve Out Security Interest. The Priming Liens shall prime in all respects
                     the liens and security interests of the Prepetition Secured Parties (including, without
                     limitation, the Prepetition Liens and the Adequate Protection Liens) (the “Primed Liens”).
                     Notwithstanding anything herein to the contrary, the Priming Liens (x) shall be subject
                     and immediately junior to the Permitted Prior Liens and will have no recourse to the Carve
                     Out Reserves, or the funds therein (other than to the extent of the Carve Out Security
                     Interest on the terms therein and in all cases, for the avoidance of doubt, subject and
                     subordinate to the Carve Out), in all respects, (y) shall be subject and subordinate to the
                     Securitization Liens, and (z) shall be senior in all respects to the Primed Liens.




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 Material Provision                                              Summary
                      The DIP Liens shall be entitled to the full protection of Bankruptcy Code section 364(e)
                      if the Interim DIP Order or any provision hereof is vacated, reversed, or modified on
                      appeal.

                      Interim DIP Order, ¶ . 5.

Carve Out             As used in the Interim DIP Order, the “Carve Out” means the sum of (i) all fees required
                      to be paid to the Clerk of the Court and to the Office of the United States Trustee (the
Bankruptcy Rule
                      “U.S. Trustee”) under section 1930(a) of title 28 of the United States Code plus interest
4001(c)(1)(B)
                      at the statutory rate (without regard to the notice set forth in (iii) below); (ii) all reasonable
                      fees and expenses up to $50,000 incurred by a trustee under Bankruptcy Code section
                      726(b) (without regard to the notice set forth in (iii) below); (iii) to the extent allowed at
                      any time, whether by Interim DIP Order, procedural order, or otherwise, all unpaid fees
                      and expenses (the “Allowed Professional Fees”) incurred by persons or firms retained by
                      the Debtors pursuant to Bankruptcy Code section 327, 328, or 363 (the “Debtor
                      Professionals”) and the Committee pursuant to Bankruptcy Code section 328 or 1103 (the
                      “Committee Professionals” and, together with the Debtor Professionals, the “Professional
                      Persons”) at any time before or on the first business day following delivery by the DIP
                      Agent (at the direction of the Required DIP Lenders) of a Carve Out Trigger Notice (as
                      defined below), whether allowed by the Court prior to or after delivery of a Carve Out
                      Trigger Notice (the amounts set forth in clauses (i) through (iii), the “Pre Carve Out
                      Trigger Notice Cap”); and (iv) Allowed Professional Fees of Debtor Professionals in an
                      aggregate amount not to exceed $2,000,000 incurred after the first business day following
                      delivery by the DIP Agent of the Carve Out Trigger Notice, to the extent allowed at any
                      time, whether by interim order, procedural order, or otherwise (the “Post-Carve Out
                      Trigger Notice Cap”); provided that no fees or expenses of any Professional Persons may
                      be included in the calculation of both the Post-Carve Out Trigger Notice Cap and the Pre-
                      Carve Out Trigger Notice Cap. For purposes of the foregoing, “Carve Out Trigger
                      Notice” shall mean a written notice delivered by email (or other electronic means) by the
                      DIP Agent (as directed by Required DIP Lenders in their sole discretion) to the Debtors,
                      their lead restructuring counsel (Akin Gump Strauss Hauer & Feld LLP), the U.S. Trustee,
                      and counsel to any Committee (if appointed), which notice may be delivered following
                      the occurrence and during the continuation of an Event of Default (as defined below) and
                      acceleration of the DIP Obligations under the DIP Facility, stating that the Post-Carve
                      Out Trigger Notice Cap has been invoked.
                      Interim DIP Order, ¶ 13.

Challenge Period      Subject to the Challenge Period (as defined below), the stipulations, admissions, waivers,
                      and releases contained in the Interim DIP Order, including the Debtors’ Stipulations, shall
Bankruptcy Rule
                      be binding upon the Debtors, their estates, and any of their respective successors,
4001(c)(l)(B)
                      including, without limitation, any chapter 7 or chapter 11 trustee, responsible person,
                      examiner with expanded powers, or other estate representative, in all circumstances and
                      for all purposes, and the Debtors are deemed to have irrevocably waived and relinquished
                      all Challenges (as defined below) as of the Petition Date. The stipulations, admissions,
                      waivers and releases contained in the Interim DIP Order, including the Debtors’
                      Stipulations, shall be binding upon all other parties in interest, including any Committee
                      and any other person acting on behalf of the Debtors’ estates, unless and solely to the
                      extent that (i) a party in interest is granted standing to file an adversary proceeding or
                      contested matter under the Bankruptcy Rules and files a complaint seeking to avoid,
                      object to, or otherwise challenge the findings or Debtors’ Stipulations regarding (A) the
                      validity, enforceability, extent, priority, or perfection of any of the Prepetition Liens or
                      the mortgages, security interests, and liens of any of the Prepetition Secured Parties
                      securing any Prepetition Secured Indebtedness, and the characterization of any of the



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 Material Provision                                            Summary
                      Prepetition Collateral or (B) the validity, enforceability, allowability, priority, secured
                      status, or amount of the Prepetition Secured Indebtedness (any such claim set forth in
                      such a complaint, a “Challenge”) before the earlier of (a) (1) solely in the case of the
                      Committee, if any, sixty (60) days after the appointment of the Committee if such
                      appointment occurs no more than sixty (60) days from the entry of the Interim DIP Order
                      and (2) with respect to all other parties in interest, sixty (60) days from the entry of the
                      Interim DIP Order and (b) the date of entry of an order confirming a plan of reorganization
                      or liquidation, subject to further extension by written agreement of (1) the Debtors and
                      (2) as applicable, the Prepetition 1L Agent (at the direction of the requisite Prepetition 1L
                      Secured Parties), the Prepetition 1.5L Agent (at the direction of the requisite Prepetition
                      1.5L Secured Parties) or Prepetition 2L Agent (at the direction of the requisite Prepetition
                      2L Secured Parties) (the “Challenge Period” and, the date of expiration of the Challenge
                      Period, the “Challenge Period Termination Date”); provided, however, that if, prior to the
                      end of the Challenge Period, (x) the Cases are converted to Cases under chapter 7 of the
                      Bankruptcy Code, or (y) a chapter 11 trustee is appointed, then, in each such case, the
                      Challenge Period shall be extended by the later of (I) the time remaining under the
                      Challenge Period plus ten (10) days or (II) such other time as ordered by the Court solely
                      with respect to any such trustee appointed; and (ii) the Court enters a final order in favor
                      of the plaintiff sustaining any such Challenge in any such timely filed adversary
                      proceeding or contested matter, which is no longer subject to appeal.
                      Interim DIP Order, ¶ 30.

Adequate Protection   Pursuant to sections 361, 363(c), 363(e) and 364(d)(1) of the Bankruptcy Code, as
                      adequate protection of their interests in the Prepetition Collateral in light of the incurrence
Bankruptcy Rules
                      of the DIP Facility, the imposition of the automatic stay, and the Debtors’ use of the
4001(b)(l)(B)(iv),
                      Prepetition Collateral, the Debtors and the DIP Lenders agree to the following forms of
4001(c)(1)(B)(ii)
                      adequate protection to be granted to the holders of the Prepetition Secured Indebtedness
                      (the “Adequate Protection”): (a) valid, binding, enforceable and perfected replacement
                      liens on and security interests in the DIP Collateral (the “Adequate Protection Liens”),
                      which Adequate Protection Liens shall be junior and subordinate only to (i) the Carve-
                      Out, (ii) the Securitization Liens, (iii) the DIP Liens, (iv) the Prepetition Priming Liens,
                      (v) in the case of the Prepetition 1.5L Indebtedness and the Prepetition 2L Indebtedness,
                      the Adequate Protection Liens in favor of holders of the Prepetition 1L Indebtedness, and
                      (vi) in the case of the Prepetition 2L Indebtedness, the Adequate Protection Liens in favor
                      of the holders of the Prepetition 1.5L Indebtedness; (b) superpriority administrative
                      expense claims as provided by section 507(b) of the Bankruptcy Code (the “Adequate
                      Protection Superpriority Claims”), which Adequate Protection Superpriority Claims shall
                      be junior only to (i) the Carve-Out, and the Administrative Charges (solely for the
                      Canadian Debtors), (ii) the Superpriority Securitization Facilities Claims, (iii) the DIP
                      Claims, (iv) in the case of the Prepetition 1.5L Indebtedness and the Prepetition 2L
                      Indebtedness, the Adequate Protection Superpriority Claims in favor of the holders of the
                      Prepetition 1L Indebtedness, and (v) in the case of the Prepetition 2L Indebtedness, the
                      Adequate Protection Superpriority Claims in favor of the holders of the Prepetition 1.5L
                      Indebtedness; (c) for the benefit of the holders of Prepetition 1L Indebtedness, payment
                      in cash of all reasonable and documented out-of-pocket fees and expenses (to the extent
                      consistent with the terms of the applicable engagement or reimbursement letters, if any)
                      of Alter Domus (US) LLC, as administrative agent and collateral agent under the
                      Prepetition 1L Credit Agreement, and the Ad Hoc Group (including all reasonable and
                      documented fees and expenses of Wachtell, Lipton, Rosen & Katz, Houlihan Lokey, Ernst
                      & Young, Texas counsel to the Ad Hoc Group, Canadian counsel to the Ad Hoc Group
                      and such other advisors as are necessary and appropriate and reasonably acceptable to the
                      Debtors), in each case that have accrued as of the Petition Date upon entry of the Interim
                      DIP Order and, thereafter, within ten (10) calendar days of presentment of invoices; and



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 Material Provision                                           Summary
                      (d) financial and other periodic reporting substantially in compliance with the Prepetition
                      1L Credit Agreement and as required under the DIP Credit Agreement.
                      DIP Term Sheet, pp. 5-6.

Events of Default     The occurrence of any of the following events, unless waived by the Required DIP
Bankruptcy Rule       Lenders in accordance with the terms of the DIP Documents, shall constitute an event of
4001(c)(l)(B)         default (collectively, the “Events of Default”): (a) the failure of the Debtors to comply
                      with any of the Required Milestones (as defined below); or (b) the occurrence of an
                      “Event of Default” under the DIP Credit Agreement.
                      DIP Term Sheet, p. 12.




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Waiver/Modification   Immediately upon the occurrence and during the continuation of an Event of Default and
of the Automatic      the delivery of the Carve Out Trigger Notice, notwithstanding the provisions of
Stay                  Bankruptcy Code section 362, without any application, motion, or notice to, hearing
                      before, or order from the Court, but subject to the terms of the Interim DIP Order,
Bankruptcy Rule       including, without limitation, the Remedies Notice Period (defined below), (x) the DIP
4001(c)(1)(B)(iv)     Agent (at the direction of the Required DIP Lenders) may declare (any such declaration
                      shall be referred to herein as a “Termination Declaration”) (i) all DIP Obligations owing
                      under the DIP Documents to be immediately due and payable, (ii) the termination,
                      reduction or restriction of any further commitment to extend credit to the Debtors to the
                      extent any such commitment remains under the DIP Facility, (iii) termination of the DIP
                      Facility and the DIP Documents as to any future liability or obligation of the DIP Agent
                      and the DIP Lenders, but without affecting any of the DIP Liens or the DIP Obligations,
                      and (iv) the application of the Carve Out through the delivery of the Carve Out Trigger
                      Notice to the DIP Borrower and (y) the DIP Agent (at the direction of the Required DIP
                      Lenders) may declare a termination (or reduction or restriction) on the ability of the
                      Debtors to use Cash Collateral (the date on which a Termination Declaration is delivered,
                      the “DIP Termination Date”) in which case such rights and remedies described in clauses
                      (x) and (y) as are set forth in the applicable Termination Declaration shall immediately
                      go into effect, provided, however, that during the Remedies Notice Period (as defined
                      below), the Debtors may use Cash Collateral solely to fund the Carve-Out and pay payroll
                      and other expenses critical to the administration of the Debtors’ estates strictly in
                      accordance with the Approved Budget, subject to Permitted Variances. The Termination
                      Declaration shall not be effective until notice has been provided by electronic mail (or
                      other electronic means) to counsel to the Debtors, counsel to a Committee (if appointed),
                      counsel to the Securitization Agents, and the U.S. Trustee.
                      Upon the occurrence of an Event of Default, the DIP Agent, (acting at the direction of the
                      Required DIP Lenders) and/or applicable Prepetition 1L Secured Parties, may file a
                      motion with the Court seeking emergency relief (a “Remedies Determination Hearing”)
                      on at least five (5) business days’ notice to the Debtors, the Securitization Agents, and the
                      U.S. Trustee, and the Debtors agree not to object to the shortening of notice of such
                      Remedies Determination Hearing. The “Remedies Notice Period” shall be defined as the
                      date commencing with the Termination Declaration through a Court determination at the
                      Remedies Determination Hearing. At such Remedies Determination Hearing, (x) the DIP
                      Agent (acting at the direction of the Required DIP Lenders) may seek Court approval to
                      exercise its rights and remedies (in addition to those rights and remedies set forth in
                      Paragraph 17(a) above) in accordance with the DIP Documents and the Interim DIP Order
                      to satisfy the DIP Obligations, DIP Superpriority Claims, and DIP Liens, subject to the
                      Carve Out and the Superpriority Securitization Facilities Claims, including the complete
                      termination of the use of Cash Collateral and (y) the applicable Prepetition Secured
                      Parties may seek to exercise their respective rights and remedies to the extent available in
                      accordance with the applicable Prepetition Secured Indebtedness Documents and the
                      Interim DIP Order with respect to the Debtors’ use of Cash Collateral. Upon a
                      Termination Declaration, the Debtors, the Committee (if appointed), and/or any party in
                      interest shall also be entitled to seek an emergency hearing with the Court for the sole
                      purpose of contesting whether an Event of Default has occurred or is continuing.
                      Nothing herein shall alter the burden of proof set forth in the applicable provisions of the
                      Bankruptcy Code at any hearing on any request by the Debtors or other party in interest
                      to re-impose or continue the automatic stay under Bankruptcy Code section 362(a), use
                      Cash Collateral, or to obtain any other injunctive relief. Any delay or failure of the DIP
                      Agent or the Prepetition 1L Agent to exercise rights under the DIP Documents, the Credit
                      Documents, the Intercreditor Agreements, or the Interim DIP Order shall not constitute a
                      waiver of their respective rights hereunder, thereunder or otherwise. The occurrence of
                      the DIP Termination Date shall not affect the validity, priority, or enforceability of any
                      and all rights, remedies, benefits, and protections provided to any of the DIP Secured
                      Parties or the Prepetition Secured Parties under the Interim DIP Order, which rights,



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 Material Provision                                            Summary
                      remedies, benefits, and protections shall survive the DIP Termination Date or the delivery
                      of a Termination Declaration.
                      Upon the termination of the DIP Facility in accordance with the terms of the Interim DIP
                      Order, all DIP Obligations shall be indefeasibly paid in cash.
                      The Debtors are authorized and directed to perform all acts and to make, execute and
                      deliver any and all instruments as may be reasonably necessary to implement the terms
                      and conditions of the Interim DIP Order and the transactions contemplated hereby. The
                      stay of Bankruptcy Code section 362 is hereby modified to permit the parties to
                      accomplish the transactions contemplated by the Interim DIP Order.
                      Interim DIP Order, ¶ 17, 24.

Waiver/Modification   All DIP Liens authorized and granted pursuant to the DIP Orders shall be deemed valid,
of Applicability of   binding, enforceable, effective and automatically perfected and non-avoidable as of the
Nonbankruptcy Law     Petition Date, and no further filing, notice, or act under applicable law or otherwise will
Relating to           be required to effect such perfection. The DIP Lenders, or the DIP Agent, acting upon
Perfection or         the instruction of the Required DIP Lenders, shall be permitted, but not required, to make
Enforceability of     any filings, deliver any notices, make recordations, perform any searches or take any other
Liens                 acts as may be necessary under state law or other applicable law in order to enforce the
                      security, perfection or priority of the DIP Liens and the DIP Loans.
Bankruptcy Rule
4001(c)(1)(B)(vii)    DIP Term Sheet, p. 5.

Indemnification       The Debtors will indemnify the DIP Lenders, the DIP Agent, and their respective
                      affiliates, successors, and assigns and the officers, directors, employees, agents, attorneys,
Bankruptcy Rule
                      advisors, controlling persons, and members of each of the foregoing (each an
4001(c)(1)(B)(ix)
                      “Indemnified Person”) and hold them harmless from and against all costs, expenses
                      (including but not limited to reasonable and documented legal fees and expenses), and
                      liabilities arising out of or relating to the transactions contemplated hereby and any actual
                      or proposed use of the proceeds of any loans made under the DIP Facility and any claim,
                      litigation, investigation or proceeding relating to any of the foregoing, whether or not any
                      Indemnified Person is a party thereto and regardless of whether such matter is initiated
                      by a third party or by any of the Debtors or any of their subsidiaries or affiliates; provided
                      that no such person will be indemnified for costs, expenses, or liabilities (x) to the extent
                      determined by a final, non-appealable judgment of a court of competent jurisdiction to
                      have been incurred primarily by reason of the gross negligence, fraud or willful
                      misconduct of such Indemnified Person (or their related persons), (y) that arose from a
                      material breach in bad faith of such Indemnified Person’s (or their related persons’)
                      obligations under any DIP Document (as determined by a court of competent jurisdiction
                      in a final, non-appealable judgment) or (z) arose from any claim, actions, suits, inquiries,
                      litigation, investigation or proceeding that does not involve an act or omission of the
                      Debtors and is brought by any Indemnified Person against another Indemnified Person
                      (other than any claim, actions, suits, inquiries, litigation, investigation or proceeding
                      against the DIP Agent, in its capacity as such). No Indemnified Person shall have any
                      liability (whether direct or indirect, in contract, tort, or otherwise) to the Debtors or any
                      shareholders or creditors of the Debtors for or in connection with the transactions
                      contemplated hereby, except to the extent such liability is found in a final non-appealable
                      judgment by a court of competent jurisdiction (x) to have resulted primarily from such
                      Indemnified Person’s (or their related persons’) gross negligence, fraud, or willful
                      misconduct or breach of their obligations under the DIP Facility or (y) that arose from a
                      material breach in bad faith of such Indemnified Person’s (or their related persons’)
                      obligations under any DIP Document, and in no event shall any Indemnified Person be




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  Material Provision                                           Summary
                       liable on any theory of liability for any special, indirect, consequential, or punitive
                       damages.
                       Interim DIP Order, ¶ 38.

 Section 506(c) and    In consideration of (i) the DIP Secured Parties’ willingness to provide the DIP Facility to
 552(b) Waiver         the extent set forth herein, (ii) the DIP Secured Parties’ and the Prepetition Secured
                       Parties’ agreement to subordinate their respective liens and claims to the Carve-Out, (iii)
 Bankruptcy Rule
                       the Prepetition Secured Parties’ agreement to subordinate their respective liens and
 4001(c)(1)(B)(x)
                       superpriority claims to the DIP Obligations and the Carve Out, (iv) the application and
                       use of Cash Collateral as set forth in the Interim DIP Order, subject to and upon entry of
                       the Final DIP Order, each DIP Secured Party and Prepetition Secured Party is entitled to
                       (x) the rights and benefits of Bankruptcy Code section 552(b), and a waiver of any
                       “equities of the case” claims under Bankruptcy Code section 552(b), (y) a waiver of the
                       provisions of Bankruptcy Code section 506(c) and (z) a waiver of unjust enrichment, the
                       equitable doctrine of marshaling and other similar doctrines.
                       Interim DIP Order, ¶ I.
                    THE DEBTORS’ PREPETITION CAPITAL STRUCTURE

        A.      The Debtors’ Prepetition Capital Structure

        14.     As of the Petition Date, the Company’s capital structure includes approximately

$2.1 billion of funded debt Obligations, as summarized below.

     ($ in millions)              Capacity         Interest Rate          Maturity       Balance (in USD)
      Debtors’ Corporate Debt:
      1L Secured Term Loan          N/A                   18.0% Fixed        Aug 2027                  $ 178
      1.5L Secured Notes            N/A                    7.5% Fixed        Aug 2028                  $ 682
      2L Secured Notes              N/A                    7.5% Fixed        Aug 2028                  $ 318
                                                                             Subtotal:               $ 1,178
      Non-Debtor Funding
      Debt:
      Heights SPV                  $375          1-Mo SOFR + 5.70%           July 2025                $301
      Heights SPV II               $140          1-Mo SOFR + 8.50%           Nov 2026                 $136
      First Heritage SPV           $200          1-Mo SOFR + 4.40%           July 2025                $155
      Canada SPV                   C$400           3-Mo CDOR + 6%            Aug 2026                 $252
      Canada SPV II                C$150           3-Mo CDOR + 8%            Nov 2025                   $80
                                                                             Subtotal:                 $924
                                                                                Total:               $2,102

        B.      Prepetition 1L Credit Agreement

        15.     On May 15, 2023, in connection with the May 2023 Exchange (as defined below),

CURO, as borrower, and the other Debtors (other than the Canadian Debtors), as guarantors,

entered into the First Lien Credit Agreement (the “Prepetition 1L Credit Agreement”) with Alter



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Domus (US) LLC, as administrative agent and collateral agent (the “Prepetition 1L Agent”), and

the lenders party thereto (the “Prepetition 1L Lenders”), pursuant to which the Prepetition 1L

Lenders extended $150 million in term loans to CURO (the “Prepetition 1L Term Loans”). The

Prepetition 1L Term Loans are secured by first priority liens on substantially all of the domestic

Debtors’ assets. The obligations under the Prepetition 1L Credit Agreement are guaranteed by all

Debtors, other than the Canadian Debtors. The Prepetition 1L Term Loans mature on August 2,

2027. Interest on the Prepetition 1L Term Loans accrues at a rate of 18.00% per annum, payable

quarterly. As of the Petition Date, approximately $178 million in principal amount remains

outstanding under the Prepetition 1L Credit Agreement.

       16.     Of the aggregate principal amount of Prepetition 1L Term Loans provided under

the Prepetition 1L Credit Agreement, approximately $17 million was funded by a non-Debtor Curo

SPV, LLC (the “CURO SPV”), a wholly-owned special purpose vehicle of the Company (the “SPV

Loans”), using proceeds from a concurrent private placement issuance of 18.00% Senior Secured

Notes issued by the CURO SPV (the “Backstop Notes”) to certain noteholders. The Backstop

Notes are secured by the SPV Loans and guaranteed by CURO.

       17.     The proceeds of the Prepetition 1L Term Loans were used (a) to repay the

obligations under the existing senior revolver facility that provided $40 million of borrowing

capacity, (b) for payment of fees and expenses associated with the May 2023 Exchange, and (c)

for general corporate purposes. The Prepetition 1L Credit Agreement includes certain financial

and operating covenants, including a covenant requiring the Company to maintain liquidity as of

the last day of each calendar month, beginning May 31, 2023, (a) prior to September 30, 2024,

equal to or greater than $75 million and (b) on and after September 30, 2024, equal to or greater

than $60 million (the “Liquidity Covenant”).




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       C.      Prepetition Senior Secured Notes and the May 2023 Exchange

       18.     On July 30, 2021, CURO, as the issuer, issued $750 million in aggregate principal

amount of 7.5% senior secured notes maturing on August 1, 2028 (the “Prepetition 2L Notes”),

pursuant to an Indenture (the “Prepetition 2L Notes Indenture”) between CURO, the guarantors

party thereto, and TMI Trust Company, as trustee and collateral agent (the “Prepetition 2L Notes

Trustee”). On December 3, 2021, CURO issued an additional $250 million in principal amount

of Prepetition 2L Notes to fund the acquisition of certain assets. The obligations under the

Prepetition 2L Notes Indenture are guaranteed by all Debtors, other than Curo Ventures, LLC and

the Canadian Debtors. At the time of issuance, the Prepetition 2L Notes were secured by a first

priority lien on substantially all of the Debtors’ assets (other than the assets of the Canadian

Debtors).

       19.     On May 15, 2023, the Company closed an exchange transaction (the “May 2023

Exchange”), pursuant to which certain holders of the Prepetition 2L Notes agreed to exchange

approximately $682.3 million aggregate principal amount of the Prepetition 2L Notes for

approximately $682.3 million of new 7.5% senior secured notes maturing on August 1, 2028 (the

“Prepetition 1.5L Notes”). The Prepetition 1.5 Lien Notes are governed by an Indenture (the

“Prepetition 1.5L Notes Indenture”) between CURO, as issuer, the other Debtors, as guarantors

(other than the Canadian Debtors), and U.S. Bank Trust Company, N.A., as trustee and collateral

agent (the “Prepetition 1.5L Notes Trustee”). The Prepetition 1.5L Notes retained all the same

terms and conditions of the Prepetition 2L Notes except that they rank senior in lien priority to the

remaining Prepetition 2L Notes. Consequently, the liens evidencing the Prepetition 2L Notes now

rank third in priority, behind the Prepetition 1L Term Loans and Prepetition 1.5L Notes. The

interest on each of the Prepetition 1.5L Notes and Prepetition 2L Notes accrues at a rate of 7.5%

per annum, payable on February 1 and August 1 of each year.              As of the Petition Date,


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approximately $682 million and $318 million remains outstanding under the Prepetition 1.5L

Notes and Prepetition 2L Notes, respectively.

       D.      Non-Debtor Funding Debt

       20.     As of the Petition Date, the Company had five credit facilities pursuant to which

loans receivable originated by the Debtors are sold to variable interest entities to collateralize debt

incurred under each such facility (the “Securitization Facilities”). The borrowers under each of

the Securitization Facilities are non-debtor bankruptcy remote special purpose vehicles (the

“SPVs”). The Securitization Facilities generally provide that recycling will cease approximately

one year prior to maturity. The Securitization Facilities are repaid when the Debtors collect and

turn over to the applicable agent funds on account of the loan receivables and during the

amortization period beginning when the revolving period matures.

       21.     The allocation of loan receivables among the Securitization Facilities is determined

by (a) location of loan receivable origination, (b) requirements regarding size, type or other loan

receivable characteristics set forth in each Securitization Facility, and (c) the Debtors’ discretion,

when a loan receivable qualifies for sale to more than one of the Securitization Facility. The

Securitization Facilities provide a critical source of liquidity for day-to-day operations for the

Company. During the revolving period, the borrowing capacity under each Securitization Facility

is determined by applying an applicable advance rate against the outstanding principal balance of

eligible receivables, subject to certain adjustments.      Each Securitization Facility is secured

primarily by a pool of secured and unsecured fixed-rate personal loans and related assets.

       22.     CURO is a limited guarantor under each of the Securitization Facilities.

Additionally, each of First Heritage Credit of Alabama, LLC, First Heritage Credit of South

Carolina, LLC, and First Heritage Credit of Tennessee, LLC are originators of loans receivable

subject to the First Heritage SPV Facility and the Heights II SPV Facility. First Heritage Credit


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of Louisiana, LLC and First Heritage Credit of Mississippi, LLC are also originators of loans

receivable subject to the First Heritage SPV Facility. Covington Credit, Inc., Covington Credit of

Alabama, Inc., Covington Credit of Georgia, Inc., Covington Credit of Texas, Inc., Heights

Finance Corporation (IL), Heights Finance Corporation (TN), Quick Credit Corporation, Southern

Finance of South Carolina, Inc. and Southern Finance of Tennessee, Inc. are also originators of

loans receivable subject to the Heights SPV Facility and the Heights II SPV Facility. Further, each

of LendDirect Corp. and CURO Canada Corp. are Debtor obligors under the Canada SPV Facility

by virtue of being originators of loans receivable subject to such facility and under the Canada

SPV II Facility by virtue of being originators of loans receivable subject to and limited guarantors

under such facility. The borrowers under each of the Securitization Facilities are non-debtor

bankruptcy remote special purpose vehicles (the “Non-Debtor Purchasers”).6

        The Securitization Facilities include the following:

                 (i)      Heights SPV. On July 15, 2022, Heights Financing I, LLC, a wholly owned
                          bankruptcy-remote non-Debtor subsidiary of the Company, entered into a
                          non-recourse revolving warehouse facility with, among others, certain
                          lender party thereto, and Wilmington Trust National Association, as
                          borrower loan trustee and Atlas Securitized Products Holdings, L.P. as
                          successor structuring and syndication agent and as administrative agent (as
                          amended, modified and supplemented from time to time, the “Heights SPV
                          Facility”). The current borrowing capacity under the Heights SPV Facility
                          is $375 million. The effective interest rate under the Heights SPV Facility
                          is 1-month SOFR plus 5.7%. The warehouse revolving period matures on
                          July 15, 2024. The facility matures on July 15, 2025. As of the Petition
                          Date, the outstanding balance under the Heights SPV Facility was
                          approximately $301 million.

                 (ii)     Heights SPV II. On November 3, 2023, Heights Financing II, LLC, a
                          wholly owned bankruptcy-remote non-Debtor subsidiary of the Company,
                          entered into a non-recourse revolving warehouse facility with certain
                          lenders and Wilmington Trust N.A., as borrower loan trustee and Midtown

6
    The following entities are non-debtor affiliates of the Debtors: (i) First Heritage Financing I, LLC, (ii) Heights
    Financing I, LLC, (iii) Heights Financing II, LLC, (iv) CURO Canada Receivables Limited Partnership,
    (v) CURO Canada Receivables GP, Inc., (vi) CURO Canada Receivables II Limited Partnership, and (vii) CURO
    Canada Receivables II GP Inc.


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              Madison Management LLC, as structuring and syndication agent and as
              administrative agent (as amended, modified and supplemented from time to
              time, the “Heights SPV II Facility”). The current borrowing capacity under
              the Heights SPV Facility is $140 million. The effective interest rate under
              the Heights SPV II Facility is 1-month SOFR plus 8.5%. The warehouse
              revolving period and the facility mature on November 3, 2026. As of the
              Petition Date, the outstanding balance under the Heights SPV II Facility
              was approximately $136 million.

      (iii)   First Heritage SPV. On July 13, 2022, concurrently with the closing of the
              First Heritage Acquisition (as defined below), First Heritage Financing I,
              LLC, a wholly owned bankruptcy-remote non-Debtor subsidiary of the
              Company, entered into a non-recourse revolving warehouse facility with,
              among others, certain lenders thereto, Wilmington Trust National
              Association, as borrower loan trustee, and Atlas Securitized Products
              Holdings, L.P., as successor structuring and syndication agent and as
              administrative agent (as amended, modified and supplemented from time to
              time, the “First Heritage SPV Facility”), to replace the incumbent lender’s
              facility and finance future loans originated by First Heritage (as defined
              below). The current borrowing capacity under the First Heritage SPV
              Facility is $200 million. The effective interest rate under the First Heritage
              SPV is 1-month SOFR plus 4.40%. The warehouse revolving period
              matures on July 13, 2024. The facility matures on July 13, 2025. As of the
              Petition Date, the outstanding balance under the First Heritage SPV Facility
              was $155 million.

      (iv)    Canada SPV. On August 2, 2018, CURO Canada Receivables Limited
              Partnership, a wholly owned bankruptcy-remote non-Debtor subsidiary of
              the Company, entered into a non-recourse revolving warehouse facility with
              lenders party thereto and Waterfall Asset Management, LLC, as
              administrative agent (as amended, modified and supplemented from time to
              time, the “Canada SPV Facility”). The borrowing capacity under the
              Canada SPV Facility is currently approximately $340 million (or CAD $400
              million). The effective interest rate is 3-month CDOR plus 6.00%. The
              warehouse revolving period ends in July 2024. The facility matures on
              August 2, 2026. As of the Petition Date, the outstanding balance under the
              Canada SPV Facility was $252 million. The general partner of the limited
              partnership is non-Debtor CURO Canada Receivables GP, Inc.

      (v)     Canada SPV II. On May 12, 2023, CURO Canada Receivables II Limited
              Partnership, a wholly owned bankruptcy-remote non-Debtor subsidiary of
              the Company, entered into a non-recourse revolving warehouse facility with
              lenders party thereto and Midtown Madison Management LLC, as
              administrative agent (as amended, modified and supplemented from time to
              time, the “Canada SPV II Facility”), to finance loans in Canada. The
              effective interest rate is three-month CDOR plus 8.00%. The warehouse
              revolving period ends and the facility matures on November 12, 2025. The


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                      borrowing capacity under the Canada SPV II Facility is currently
                      approximately $112 million (or CAD $150 million). As of the Petition
                      Date, the outstanding balance under the Canada SPV II Facility was $80
                      million. The general partner of the limited partnership is non-Debtor CURO
                      Canada Receivables II GP Inc.

       E.      Intercreditor Agreements

       23.     The Debtors (other than Canadian Debtors) are party to a senior Intercreditor

Agreement, by and among the Debtors, Prepetition 1L Agent, the Prepetition 1.5L Notes Trustee

and the Prepetition 2L Notes Trustee, dated as of May 15, 2023 (the “Senior Intercreditor

Agreement”). The Debtors (other than Canadian Debtors) are also party to a junior Intercreditor

Agreement, by and among the Debtors, the Prepetition 1.5L Notes Trustee and the Prepetition 2L

Notes trustee, dated as of May 15, 2023 (the “Junior Intercreditor Agreement”, and, together with

the Senior Intercreditor Agreement, the “Intercreditor Agreements”).            The Intercreditor

Agreements govern, among other things, distributions of payments and treatment of collateral

between the lenders under the Prepetition 1L Credit Agreement, the Prepetition 1.5L Notes

Indenture and the Prepetition 2L Notes Indenture.

                              The Debtors Have A Need For
                Debtor-In-Possession Financing And Use Of Cash Collateral

       24.     The Debtors require immediate access to the Prepetition Secured Parties’ Cash

Collateral and the DIP Facility. The Debtors’ businesses are cash intensive, with significant daily

costs required to satisfy obligations to vendors, landlords and employees and cash available for

extension of credit to the Debtors’ customer base. While the Debtors have been operating on a

cash flow positive basis prior to the Petition Date, access to additional liquidity is necessary to

ensure that the Debtors are able to meet certain financial covenants under the Securitization

Facilities and thus have sufficient liquidity to operate their business and continue generating

income. As described in the Oppenheimer Declaration, without the financing provided through



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the DIP Facility, the Debtors would not be able to continue to operate in the ordinary course.

Moreover, the Debtors need additional liquidity to cover the expenses of these Chapter 11 Cases

in order to effectuate the restructuring contemplated by the RSA and the Plan. Finally, the Debtors

require access to the DIP Facility to maintain certain liquidity thresholds required under the

Securitization Facilities, continued access to which is essential to allow the Debtors to continue

their consumer lending operations.

       25.     As such, and given their current limited liquidity, the Debtors require immediate

access to postpetition financing and the use of the Prepetition Secured Parties’ Cash Collateral to

operate their businesses. Further, the failure to obtain access to the DIP Facility and the Prepetition

Secured Parties’ Cash Collateral will result in immediate and irreparable harm to the Debtors and

their stakeholders and materially diminish the value of the Debtors’ estates.

       26.     Accordingly, the proposed DIP Facility is necessary to provide the Debtors with

the liquidity they need to fund the Chapter 11 Cases.

                   Alternative Financing Is Not Available On Better Terms

       27.     Given the Debtors’ prepetition capital structure and the challenges facing their

business, the DIP Facility represents the best and only actionable postpetition financing to

supplement the Securitization Facilities. As discussed in greater detail below, prior to the Petition

Date, the Debtors, with the aid of their advisors, reviewed and considered several potential

alternatives with the goal of maximizing enterprise value. None of these alternatives proved

actionable in light of the Debtors’ capital structure and market environment. As a result, the

Debtors determined that the restructuring agreed to under the RSA, including the DIP Facility, was

the best and only path forward under the circumstances.




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                          Events Leading to These Chapter 11 Cases

       28.     As is further described in the First Day Declaration, in the two years leading up to

the Petition Date, the Company took significant steps aimed at (a) shifting its business model to

focus on longer term, higher balance and lower interest rate credit products, (b) optimizing its

business operations and (c) strengthening the Company’s liquidity.          These efforts included

strategic acquisitions, sale of legacy businesses, and operational restructuring, which included

replacement of the C-suite in the second half of 2022 and into early 2023. Additionally, in May

and November of 2023, the Company attempted to strengthen its liquidity through two debt

transactions and to extend operating liquidity by refinancing of the Securitization Facilities.

       29.     Despite the Company’s efforts to boost liquidity, reduce expenses and streamline

operations, the Company’s 2023 cash flow was lower than forecasted. First, the Company’s sale

of Flexiti, its Canadian point-of-sale consumer financing business, did not generate as much in

proceeds as the Company forecasted. Second, in 2023, the Company became embroiled in

litigation with Community Choice Financial (“CCFI”) – the purchaser of the U.S. Legacy Direct

Lending Business. The Company sold the U.S. Legacy Direct Lending Business to CCFI in July

2022. Per the terms of the sale agreement, CCFI owed the Company a portion of the deferred

purchase price, the final net working capital adjustment and a portion of amounts owed under the

Transition Services Agreement, totaling approximately $22.5 million plus interest. The Company

initiated litigation against CCFI to recover the amounts owed. In turn, CCFI is counter-suing the

Company for $27 million (which claims the Company believes are without merit).

       30.     Other factors contributing to strained liquidity included the rising interest rates

which increased the cost of servicing the Company’s existing debt, the Company’s inability to

successfully pledge certain single-pay Canada-based loans with a value of approximately $25

million and increase in variable advance rates under the Securitization Facilities.


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        31.     Importantly, in late 2023 the Company undertook an effort to ensure continued

operational financing by seeking to refinance the Securitization Facilities, some of which were fast

approaching maturity. The Company engaged Oppenheimer & Co. Inc. (“Oppenheimer”) to

explore potential refinancing of certain Securitization Facilities. Although many of the parties

Oppenheimer spoke to indicated that they were interested in supporting the Company’s business

and its management team, they were only willing to do so if the Company was able to deleverage

its corporate balance sheet. Other parties that Oppenheimer spoke to indicated that should the

corporate leverage remain elevated, any refinancing would be at a materially higher costs than the

existing levels. Additionally, it became apparent to the Company that, given its constrained

balance sheet, any decision to make material payments to third parties would result in further

liquidity tightening by the lenders under the Securitization Facilities.

        32.     In January 2024, the Company’s management determined that it may miss the

January 31, 2024, liquidity covenant under certain of the Prepetition Credit Documents, which

would have resulted in a default under the Company’s debt instruments and the Securitization

Facilities.   In the face of this potential default, and guided by market feedback that the

Securitization Facility lenders would cease recycling at the first opportunity if significant cash

were to leave the Debtors’ balance sheet outside of a deleveraging event, on February 1, 2024, the

Company elected not to make the $25.6 million interest payments due on the Prepetition 1.5L

Notes and the $11.9 million interest payment due on the Prepetition 2L Notes.

        33.     While the Prepetition 2L Notes Indenture allowed for a 30-day grace period before

the Payment Default ripened into an “Event of Default,” the grace period under the Prepetition

1.5L Notes was only five business days. As such, on February 5, 2024, the Company commenced

a solicitation of consents from the holders of the Prepetition 1.5L Notes to supplement the




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indenture to obtain an extension of the grace period as a result of the Payment Default until March

1, 2024 and a waiver of the Potential Liquidity Default (the “Consent Solicitation”). The Company

received an overwhelming support from the holders, receiving consents from holders of 97% of

the Prepetition 1.5L Notes. Because the Payment Defaults constituted a cross default under the

Prepetition 1L Credit Agreement, the Company also obtained a waiver of the aforementioned

defaults from the holders of the Prepetition 1L Term Loans. The Payment Defaults and the

Potential Liquidity Default also triggered certain cross-defaults under the Company’s

Securitization Facilities.

        34.     Following the launch of the Consent Solicitation, the Company determined that as

of January 31, 2024, the Company was in compliance with the Liquidity Covenant set forth in the

Prepetition 1L Credit Agreement, the Prepetition 1.5L Notes Indenture and the Company’s

Securitization Facilities; and therefore, no liquidity default under such debt facilities occurred as

of such date.    Nevertheless, the Company determined that, given the go-forward liquidity

projections and the need to deleverage the balance sheet to facilitate the extension of the

Securitization Facilities, making the interest payments on the Prepetition 1.5L Notes and the

Prepetition 2L Notes was not advisable. Therefore, the Company focused its efforts on continuous

engagement with the lenders and third parties for a comprehensive financial restructuring to

strengthen the Company’s balance sheet and financial position. As part of the restructuring

discussion, the Debtors began exploring financing options to fund the Chapter 11 Cases.

        35.     To facilitate the Debtors’ efforts to obtain the best financing terms currently

available to them, the Debtors (through their financial advisor, Oppenheimer) solicited interest for

alternative postpetition financing from parties outside of their existing capital structure (the “DIP

Marketing Process”). As part of that process, Oppenheimer solicited interest from 23 financial




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institutions to determine whether such parties would be willing to provide postpetition financing

to the Debtors. The Debtors considered all potential financing options—unsecured, junior secured,

and senior secured financing, and reached out to a variety of third parties and the existing

stakeholders, including significant shareholders of the Company. No party that Oppenheimer

communicated with as part of the marketing process and no other party that Oppenheimer is aware

of is currently interested in providing and willing to provide postpetition financing to the Debtors,

whether on an unsecured, junior, or senior basis. Notably, no party was interested in providing

financing on a priming basis given the risk and uncertainty attendant to a priming fight with the

Debtors’ prepetition secured lenders.

       36.     As further explained in the Oppenheimer Declaration, the principal economic terms

proposed under the DIP Facility, including the contemplated fees and interest rates, are customary

and usual for financings of these types. Moreover, the interest rates and fees were the subject of

arm’s-length and good-faith negotiations, are integral components of the overall terms of the

Securitization Facilities and the proposed DIP Facility and were required by the DIP Lenders as

consideration for the extension of postpetition financing.

       37.     The DIP Facility ensures the Debtors’ continued access to Cash Collateral on a

consensual basis and, together with the Securitization Facilities, provides the financing and

liquidity necessary to consummate the de-leveraging transactions set forth in the RSA.

Accordingly, for the reasons set forth herein, the Debtors believe the DIP Facility is in the best

interests of the Debtors’ estates and should be approved.

                                        BASIS FOR RELIEF

I.     The Debtors Should Be Authorized to Obtain Postpetition Financing through the DIP
       Documents.

       A.      Entering into the DIP Documents Is an Exercise of the Debtors’ Sound
               Business Judgment.


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        38.     The Court should authorize the Debtors, as an exercise of their sound business

judgment, to enter into the DIP Documents, obtain access to the DIP Facility, and continue using

the Cash Collateral. Courts grant considerable deference to a debtor’s business judgment in

obtaining postpetition secured credit, so long as the agreement to obtain such credit does not run

afoul of the provisions of, and policies underlying, the Bankruptcy Code. See, e.g., In re L.A.

Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“Courts will almost always defer to the

business judgment of a debtor in the selection of the lender.”); In re Ames Dep’t Stores, Inc., 115

B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“Cases consistently reflect that the court’s discretion under

section 364 is to be utilized on grounds that permit reasonable business judgment to be exercised

so long as the financing agreement does not contain terms that leverage the bankruptcy process

and powers or its purpose is not so much to benefit the estate as it is to benefit a party-in-interest.”).

This Court has approved postpetition financing as a sound exercise of debtors’ business judgment.

See, e.g., In re Air Methods Corp., et al., Case No. 23-90886 (MI) (Bankr. S.D. Tex. Nov. 14,

2023), Docket No. 225; In re SmileDirectClub, Inc., et al., Case No. 23-90786 (CML) (Bankr.

S.D. Tex. Nov. 7, 2023), Docket No. 296; Noble Home Furnishings LLC, et al., Case No. 23-

90773 (CML) (Bankr. S.D. Tex. Oct. 4, 2023), Docket No. 130.

        39.     Further, in considering whether the terms of postpetition financing are fair and

reasonable, courts consider the terms in light of the relative circumstances of both the debtor and

the potential lender. See In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003);

see also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re

Elingsen McLean Oil Co., Inc.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor

may have to enter into “hard bargains” to acquire funds for its reorganization).




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        40.     The Debtors’ determination to move forward with the DIP Facility is a sound

exercise of their business judgment following a careful evaluation of alternatives, including the

prepetition DIP Marketing Process. Specifically, the Debtors and their advisors determined that it

would not be possible to rely solely on Cash Collateral and the Securitization Facilities to fund

these cases and that the Debtors would need additional postpetition financing to support their

minimum liquidity requirements under the Securitization Facilities, operations and chapter 11

activities. The proceeds of the proposed DIP Facility and the Securitization Facilities will allow

the Debtors to pay employees, landlords, vendors, and other critical operating expenses in the

ordinary course, each of which is necessary to avoid disruptions to the Debtors’ business

operations. Beyond satisfying the Debtors’ immediate liquidity needs, the DIP Facility and the

Securitization Facilities further provide the Debtors with a clear path to emergence to implement

the de-leveraging transactions contemplated under the RSA.

        41.     The terms and conditions of the DIP Facility are favorable to the Debtors and in the

best interests of their estates. Specifically, the DIP Facility:

                a)      is being funded by a group of the Debtors’ prepetition secured lenders who

                        have a vested interest in the success of the Chapter 11 Cases;

                b)      is anticipated to provide sufficient liquidity for the Debtors to fund their

                        operations and avoid business disruptions during the pendency of the

                        Chapter 11 Cases;

                c)      avoids the prospect of a costly and value-destructive priming fight with the

                        Debtors’ senior lenders and/or a substantially more costly adequate

                        protection package;




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                 d)       provides for a mechanism for the DIP Lenders to convert their claims under

                          the DIP Facility into First-Out Exit Term Loans, and thus avoids the

                          additional risks and costs of a marketing process to obtain exit financing

                          and potential delays associated therewith; and

                 e)       provides the Debtors with a clear path to emergence by providing the

                          liquidity needed (together with the Securitization Facilities) to implement

                          the de-leveraging transactions contemplated under the RSA.

        42.      Overall, the Debtors negotiated the DIP Documents with the DIP Lenders in good

faith, at arms’ length, and with the assistance of their respective advisors. The Debtors believe

that they have obtained the best financing available, given the circumstances and the broader

restructuring contemplated by the RSA.                Absent the proceeds of the DIP Facility and the

Securitization Facilities, the Debtors’ ability to continue operating as a going concern will be

jeopardized to the detriment of all parties in interest. Accordingly, the Court should authorize the

Debtors’ entry into the DIP Documents as a reasonable exercise of the Debtors’ business judgment.

        B.       The Debtors Should Be Authorized to Grant Liens and Superpriority Claims
                 to the DIP Lenders.

        43.      The Debtors propose to obtain financing under the DIP Facility, in part, by granting

superpriority claims and liens pursuant to Bankruptcy Code sections 364(c) and 364(d).

Significantly, the Debtors propose to provide first priority liens on substantially all of the Debtors’

assets, including liens on previously unencumbered property and “priming” liens on other property

(subject to the terms of the DIP Orders)7.



7
    For avoidance of doubt, all DIP Liens, DIP Superpriority Claims, Adequate Protection Liens, Adequate Protection
    Superpriority Claims and Prepetition Liens (as each term is defined in the Interim DIP Order), shall be subject to
    the Superpriority Securitization Facilities Claims and Securitization Liens as provided in the interim order
    approving the Securitization Facilities Motion and the Interim DIP Order.


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       44.     Bankruptcy Code Section 364(c) provides that, if a debtor is unable to obtain

unsecured credit allowable as an administrative expense under Bankruptcy Code section 503(b)(1),

a court:

               May authorize the obtaining of credit or the incurring of debt (1)
               with priority over any or all administrative expenses of the kind
               specified in [Bankruptcy Code] section 503(b) or 507(b); (2)
               secured by a lien on property of the estate that is not otherwise
               subject to a lien; or (3) secured by a junior lien on property of the
               estate that is subject to a lien.

11 U.S.C. § 364(c); see also In re Crouse Group, Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987)

(secured credit under Bankruptcy Code section 364(c) is authorized, after notice and hearing, upon

showing that unsecured credit cannot be obtained); In re Snowshoe Co., Inc., 789 F.2d 1085, 1088

(4th Cir. 1986) (debtor need only demonstrate “by a good faith effort that credit was not available

without” the protections of sections 364(c)).

       45.     Further, Bankruptcy Code section 364(d) provides that a debtor may obtain credit

secured by a senior or equal lien on property of the estate already subject to a lien where the debtor

is “unable to obtain such credit otherwise” and “there is adequate protection of the interest of the

holder of the lien on the property of the estate on which such senior or equal lien is proposed to be

granted.” 11 U.S.C. § 364(d)(1). Accordingly, the Debtors may “prime” the liens of the

Prepetition Secured Parties if the Debtors are unable to obtain unsecured or junior secured credit

and either (a) the Prepetition Secured Parties have consented or (b) the Prepetition Secured Parties’

interests in collateral are adequately protected.

       46.     First, the Debtors are not able to obtain unsecured or junior secured credit. Despite

the DIP Marketing Process, the Debtors do not have any actionable financing alternative, other

than the proposed Securitization Facilities, which, by themselves are insufficient to satisfy the

Debtors’ postpetition financing needs. The DIP Facility is necessary to provide the Debtors with



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the liquidity they need to consummate the restructuring transactions contemplated under the RSA.

The Debtors’ prepetition lenders were not willing to provide postpetition financing on an

unsecured or junior basis, nor has any third party presented such a proposal. Absent such consent,

the Debtors risk a potentially costly and difficult nonconsensual priming dispute with any potential

postpetition priming lenders and the Prepetition Secured Parties at a time when the Debtors’

liquidity is severely limited. Following extended negotiations with the Prepetition Secured Parties,

the Debtors were able to negotiate the proposed DIP Facility and obtain concessions that materially

improved the terms of the proposed financing. Thus, as a result of these negotiations and the DIP

Marketing Process, the Debtors determined that the DIP Facility is the best actionable alternative

available to fund these cases under the circumstances.

       47.     Second, the Prepetition Secured Parties have consented (or are deemed to consent)

to their prepetition liens and claims being primed on the terms set forth in the DIP Orders, which

includes a negotiated consensual adequate protection package. As further described in the Interim

DIP Order, the proposed adequate protection package for the Prepetition Secured Parties includes,

subject to the Carve Out, (a) valid and perfected security interests in and liens on DIP Collateral

in accordance with the priorities set forth in the DIP Orders, (b) superpriority administrative

expense claims under Bankruptcy Code sections 503(b) and 507(b), in accordance with the

priorities set forth in the DIP Orders, (c) the reasonable and documented fees and expenses of the

counsel and other professionals as set forth in the DIP Orders, and (d) certain information rights

as set forth in the DIP Orders.

       48.     Overall, the DIP Facility is the only actionable financing under the circumstances

and will avoid the risk of a costly and value-destructive priming fight with the Debtors’ prepetition

lenders and will provide the Debtors (together with the Securitization Facilities) with the liquidity




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needed to administer the Chapter 11 Cases and implement the de-leveraging transactions

contemplated under the RSA. Accordingly, the Debtors submit that the DIP Facility (including

the superpriority claims and priming liens provided thereunder) is both warranted and appropriate

under the circumstances.

II.       The Debtors Should Be Authorized to Continue to Use the Cash Collateral.

          49.      The Debtors’ use of property of their estates, including the Cash Collateral8, is

governed by Bankruptcy Code section 363,9 which provides in relevant part that:

                   If the business of the debtor is authorized to be operated under
                   section . . . 1108 . . . of this title and unless the court orders
                   otherwise, the [debtor] may enter into transactions, including the
                   sale or lease of property of the estate, in the ordinary course of
                   business, without notice or a hearing, and may use property of the
                   estate in the ordinary course of business without notice or a hearing.

11 U.S.C. § 363(c)(1). Pursuant to Bankruptcy Code section 363(c)(2), a debtor may not use cash

collateral unless “(A) each entity that has an interest in such cash collateral consents; or (B) the

court, after notice and a hearing, authorizes such use, sale, or lease in accordance with the

provisions of this section.” 11 U.S.C. § 363(c)(2).

          50.      In general, what constitutes adequate protection is decided on a case-by-case basis.

While Bankruptcy Code section 361 provides examples of forms of adequate protection, such as

granting replacement liens and administrative claims, courts decide what constitutes sufficient

adequate protection in each case. See In re Timbers of Inwood Forest Assocs., Ltd., 793 F.2d 1380,


8
      For avoidance of doubt, any accounts receivables or cash proceeds thereof which are property of the Non-Debtor
      Purchasers (as defined herein), but in the possession of one of the Debtors shall not be Cash Collateral.
9
      Bankruptcy Code Section 363(a) defines “cash collateral” as follows:
          Cash, negotiable instruments, documents of title, securities, deposit accounts, or other cash equivalents
          whenever acquired in which the estate and an entity other than the estate have an interest and includes the
          proceeds, products, offspring rents, or profits of property and the fees, charges, accounts or other payments
          for the use or occupancy of rooms and other public facilities in hotels, motels, or other lodging properties
          subject to a security interest as provided in section 552(b) of this title, whether existing before or after the
          commencement of a case under this title.
      11 U.S.C. § 363(a).


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1393 (5th Cir. 1986) (citing legislative history for proposition that the form of adequate protection

is determined on a case-by-case basis); see also In re Las Torres Dev., L.L.C., 413 B.R. 687, 696-

97 (Bankr. S.D. Tex. 2009) (noting that the Bankruptcy Code “contains no specific, definitive

definition of adequate protection”). Adequate protection is designed to shield a secured creditor

from diminution in value of its interest in collateral during the period of a debtor’s use of the

collateral. See Timbers, 793 F.2d at 1412 (citing to Adequate Protection Under the Bankruptcy

Reform Act, in W. Norton, 1978 Annual Survey of Bankruptcy Law 171, 173 (“Section 361 is

designed to prevent loss or diminution of assets.”)).

       51.     For the same reasons set forth above (regarding the Prepetition Secured Parties’

consensually negotiated adequate protection package), the Prepetition Secured Parties will be

adequately protected by the Debtors’ use of Cash Collateral and other Prepetition Collateral (as

defined in the Interim DIP Order). In light of the foregoing, the Debtors submit that the proposed

adequate protection provided for the benefit of the Prepetition Secured Parties is appropriate under

the circumstances of the Chapter 11 Cases. The Debtors’ provision of the adequate protection

obligations ensures that the Debtors are able to avail themselves of the DIP Facility and to continue

using the Cash Collateral, subject to the terms and limitations set forth in the Interim DIP Order

and the DIP Documents, for the benefit of all parties in interest and their estates.

III.   The Debtors Should Be Authorized to Pay the Interest and Fees Required by the DIP
       Agent and the DIP Lenders under the DIP Documents.

       52.     Under the DIP Documents, the Debtors have agreed, subject to Court approval, to

pay certain interest and fees to the DIP Agent and the DIP Lenders:

               (i)     Interest Rate. The interest rate is SOFR (as defined in the DIP Credit
                       Agreement) plus 10.00% per annum (payable in kind and subject to a 2.50%
                       SOFR floor).

               (ii)    DIP Lender Fee. In addition to the Backstop Fee, the Debtors shall pay to
                       all DIP Lenders, ratably,


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                       (a) an upfront fee of 3.00% of all amounts drawn under the DIP Facility,
                       payable in kind, and

                       (b) an exit fee of 10.00% of the aggregate principal amount of the DIP
                       Facility (including any amounts paid in kind), (a) in the case of the
                       consummation of the Plan and the conversion of the DIP Loans, with 5.00%
                       payable in kind as additional Takeback Term Loans and 5.00% payable in
                       equity of Reorganized Curo at a 25% discount to implied Plan equity value,
                       and (b) otherwise, payable in cash upon satisfaction in full of the DIP
                       Claims.

               (iii)   Backstop Fee. In exchange for the Backstop Commitments, the Backstop
                       Commitment Parties shall receive a premium equal to 5.00% of the initial
                       Backstop Commitments (the “Backstop Premium”), which shall be fully
                       earned upon entry of the Interim DIP Order and paid (i) to the extent the
                       Plan is consummated, in equity of Reorganized Curo at a 25% discount to
                       the implied equity value provided by the Plan upon effectiveness of the
                       Plan, and (ii) otherwise in cash upon payment in full of the DIP Claims, in
                       each case ratably based on each of the Backstop Commitment Parties’
                       respective Backstop Commitments.

       53.     The Debtors have also agreed to pay a fronting fee to the fronting bank for the DIP

Facility. As set forth in the Oppenheimer Declaration, the interest rates and fees were the subject

of arm’s-length and good-faith negotiations, are integral components of the overall terms of the

DIP Facility and were required by the proposed DIP Lenders as consideration for the extension of

postpetition financing. The benefits to the Debtors and their estates provided by the DIP Facility

significantly outweigh the fees incurred by the Debtors thereunder and are, taken as a whole,

reasonable and appropriate under the circumstances of the Chapter 11 Cases. Accordingly, the

Court should authorize the Debtors to pay the interest and fees provided under the DIP Documents

in connection with the DIP Facility.

IV.    The DIP Agent and the DIP Lenders Should Be Afforded Good-Faith Protection
       Under Section 364(e).

       54.     Bankruptcy Code Section 364(e) protects a good-faith lender’s right to collect on

loans extended to a debtor, and its right in any lien securing those loans, even if the authority of




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the debtor to obtain such loans or grant such liens is later reversed or modified on appeal.

Bankruptcy Code Section 364(e) provides that:

               The reversal or modification on appeal of an authorization under this
               [Bankruptcy Code section 364] to obtain credit or incur debt, or of
               a grant under this section of a priority or a lien, does not affect the
               validity of any debt so incurred, or any priority or lien so granted, to
               an entity that extended such credit in good faith, whether or not such
               entity knew of the pendency of the appeal, unless such authorization
               and the incurring of such debt, or the granting of such priority or
               lien, were stayed pending appeal.

       55.     The DIP Facility is the result of (i) the Debtors’ reasonable and informed

determination that the proposed DIP Lenders offered the most favorable terms on which to obtain

vital postpetition financing and (ii) extensive arm’s-length, good-faith negotiations between the

Debtors and the proposed DIP Lenders (through the Ad Hoc Group) in connection with the

restructuring set forth in the RSA. The terms and conditions of the DIP Facility are reasonable

and appropriate under the circumstances, and the proceeds of the DIP Facility will be used only

for purposes that are permissible under the Bankruptcy Code. Accordingly, the Court should find

that the obligations arising under the DIP Facility and other financial accommodations made to the

Debtors have been extended by the proposed DIP Lenders in “good faith” within the meaning of

Bankruptcy Code section 364(e) and therefore the DIP Lenders are entitled to all of the protections

afforded thereby.

V.     The Automatic Stay Should Be Modified on a Limited Basis.

       56.     The Interim DIP Order provides that the automatic stay provisions of Bankruptcy

Code section 362 will be modified to allow the DIP Lenders to file any financing statements,

security agreements, notices of liens, and other similar instruments and documents in order to

validate and perfect the liens and security interests granted to them under the DIP Orders. The

Interim DIP Order further provides that the automatic stay is modified to the extent necessary to



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implement and effectuate the terms of the Interim DIP Order. Finally, the Interim DIP Order

provides that the automatic stay shall be modified, subject to certain limitations, to the extent

necessary to permit the DIP Agent to exercise certain remedies upon the occurrence of an event of

default by the Debtors under the DIP Documents, subject to the procedures set forth in the Interim

DIP Order (including the requirement to seek relief from the stay). These modifications are

customary, reasonable, and integral to the DIP Facility.

VI.    Failure to Obtain Immediate Interim Access to the DIP Facility and Cash Collateral
       Would Cause Immediate and Irreparable Harm.

       57.     Bankruptcy Rule 4001(b) provides that a final hearing on a motion to use cash

collateral pursuant to Bankruptcy Code section 363 may not be commenced earlier than 14 days

after the service of such motion. Upon request, however, the court is empowered to conduct an

interim expedited hearing on the motion at which it may authorize a debtor to use cash collateral

to the extent necessary to avoid immediate and irreparable harm to a debtor’s estate. See

Bankruptcy Rule 4001(b)(2). Bankruptcy Code Section 363(c)(3) authorizes the court to conduct

a preliminary hearing and to authorize the use of cash collateral “if there is a reasonable likelihood

that the [debtor] will prevail at the final hearing under [Bankruptcy Code section 363(e)].” 11

U.S.C. § 363(c)(3). Furthermore, the Complex Case Procedures provide that on motion by a

debtor, a hearing will “routinely be conducted as a first-day hearing to consider either cash

collateral use and/or interim debtor-in-possession financing.” Complex Case Procedures, ¶ 5.

       58.     The Debtors require immediate access to the DIP Facility. As of the Petition Date,

the Debtors’ total cash balance is approximately $ 35 million of cash on hand. The Debtors’

business is cash intensive, with significant daily costs required to satisfy obligations to, among

other things, employees, customers and vendors. Further, the Securitization Facilities, which

provide the necessary liquidity for the Debtors’ loan origination business, require the Debtors to



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maintain a minimum capital amount. Without the financing under the Interim DIP Order, it is

likely that the Debtors could not meet this minimum capital requirement and thus lose access to

the financing under the Securitization Facilities. Thus, without financing at this critical early stage,

the Debtors would be unable to pay their operating expenses, which could result in a value

destructive interruption to their business and, simultaneously, eliminate their best chance for

consummating the proposed restructuring transactions contemplated under the RSA.

       59.     For these reasons, the Debtors require immediate access to the DIP Facility and the

use of Cash Collateral (in addition to the Securitization Facilities) to operate their business,

preserve value, and avoid irreparable harm pending the Final Hearing. The Debtors, with the

assistance of their advisors and through negotiations with the DIP Secured Parties, developed the

DIP Budget (attached to the Interim DIP Order as Schedule 1). The DIP Budget contains line

items for each category of cash flows anticipated to be received or disbursed during the time period

for which the DIP Budget is prepared. The DIP Budget includes all reasonable, necessary, and

foreseeable expenses to be incurred in connection with the operation of their business for the period

set forth in the DIP Budget. The DIP Budget establishes that the Debtors will have adequate

liquidity during the expected duration of the Chapter 11 Cases (including the interim period before

the Final Hearing) if the Debtors are allowed to use the Cash Collateral and access the proceeds of

the DIP Facility and the Securitization Facilities.

       60.     Accordingly, pursuant to Bankruptcy Code section 363(c)(3) and Bankruptcy Rule

4001(b), the Debtors request that the Court conduct an expedited hearing on this Motion and enter

the Interim DIP Order authorizing the Debtors to enter into the DIP Facility and use Cash

Collateral.




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                               REQUEST FOR FINAL HEARING

        61.     Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

the Court (i) set a date for the Final Hearing that is as soon as practicable but not later than 45 days

after the Petition Date and (ii) fix the time and date prior to the Final Hearing for parties to file

objections to this Motion.

                    WAIVER OF BANKRUPTCY RULE 6004(a) AND (h)

        62.     To implement the foregoing immediately, the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the use,

sale, or lease of property under Bankruptcy Rule 6004(h). As explained above, the relief requested

herein is necessary to avoid immediate and irreparable harm to the Debtors. Accordingly, ample

cause exists to justify the finding that the notice requirements under Bankruptcy Rule 6004(a) have

been satisfied and to grant a waiver of the 14-day stay imposed by Bankruptcy Rule 6004(h), to

the extent such notice requirements and stay apply.

                                     Emergency Consideration

        63.     The Debtors request emergency consideration of this Motion pursuant to

Bankruptcy Rule 6003, which empowers a court to grant relief within the first 21 days after the

commencement of a chapter 11 case when that relief is necessary to avoid immediate and

irreparable harm to the estate. An immediate and orderly transition into chapter 11 is critical to

the viability of the Debtors’ operations and any delay in granting the relief requested could hinder

their operations and cause irreparable harm. The failure to receive the requested relief during the

first 21 days of these chapter 11 cases could severely disrupt the Debtors’ operations at this critical

juncture and imperil the Debtors’ restructuring. Accordingly, the Debtors request that the Court

approve the relief requested in this Motion on an emergency basis.




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                        Waiver of Bankruptcy Rules 6004(a) and 6004(h)

        64.     To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

that the Debtors have established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

                                       Reservation of Rights

        65.     Nothing contained herein or any actions taken pursuant to such relief requested is

intended or shall be construed as: (a) an admission as to the amount of, basis for or validity of any

claim against a Debtor entity under the Bankruptcy Code or other applicable nonbankruptcy law;

(b) a waiver of the Debtors’, or any other party in interest’s, right to dispute any claim on any

grounds; (c) a promise or requirement to pay any claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Motion or any order granting the relief

requested by this Motion or a finding that any particular claim is an administrative expense claim

or other priority claim; (e) a request or authorization to assume, adopt or reject any agreement,

contract or lease pursuant to Bankruptcy Code section 365; (f) an admission as to the validity,

priority, enforceability or perfection of any lien on, security interest in or other encumbrance on

property of the Debtors’ estates; (g) a waiver or limitation of the Debtors’, or any other party in

interest’s, rights under the Bankruptcy Code or any other applicable law; or (h) a concession by

the Debtors that any liens (contractual, common law, statutory or otherwise) that may be satisfied

pursuant to the relief requested in this Motion are valid, and the rights of all parties in interest are

expressly reserved to contest the extent, validity or perfection or to seek avoidance of all such

liens. If the Court grants the relief sought herein, any payment made pursuant to the DIP Orders

is not intended and should not be construed as an admission as to the validity of any particular




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claim or a waiver of the Debtors’ or any other party in interest’s rights to subsequently dispute

such claim.

                                               Notice

       66.     The Debtors will provide notice of this Motion to: (a) the Office of the United

States Trustee for the Southern District of Texas; (b) the entities listed on the Debtors’ petitions as

holding the largest 30 unsecured claims (on a consolidated basis); (c) counsel to Prepetition 1L

Agent; (d) counsel to Prepetition 1.5L Notes Trustee; (e) counsel to Prepetition 2L Notes Trustee;

(f) counsel for the Ad Hoc Group; (g) counsel to the lenders under the Securitization Facilities;

(h) the United States Attorney’s Office for the Southern District of Texas; (i) the Internal Revenue

Service; (j) the United States Securities and Exchange Commission; (k) the state attorneys general

in the states where the Debtors conduct their business operations; and (l) any party that has

requested notice pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested,

no further notice is necessary.




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       WHEREFORE, the Debtors request entry of interim and final orders, substantially in the

forms of the Interim DIP Order filed with this Motion and the Final DIP Order, granting the relief

requested herein and granting such other relief as the Court deems just, proper and equitable.

Dated: March 25, 2024
       Houston, Texas
                                          /s/ Sarah Link Schultz
                                          AKIN GUMP STRAUSS HAUER & FELD LLP
                                          Sarah Link Schultz (State Bar No. 24033047;
                                          S.D. Tex. 30555)
                                          Patrick Wu (State Bar No. 24117924;
                                          S.D. Tex. 3872088)
                                          2300 N. Field Street, Suite 1800
                                          Dallas, TX 75201-2481
                                          Telephone: (214) 969-2800
                                          Facsimile: (214) 969-4343
                                          Email: sschultz@akingump.com
                                                  pwu@akingump.com

                                          -and-

                                          Michael S. Stamer (pro hac vice pending)
                                          Anna Kordas (pro hac vice pending)
                                          Omid Rahnama (pro hac vice pending)
                                          One Bryant Park
                                          New York, NY 10036-6745
                                          Telephone: (212) 872-1000
                                          Facsimile: (212) 872-1002
                                          Email: mstamer@akingump.com
                                                 akordas@akingump.com
                                                 orahnama@akingump.com

                                          Proposed Counsel to the Debtors




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                                    Certificate of Accuracy

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).

                                                            /s/ Sarah Link Schultz
                                                            Sarah Link Schultz

                                     Certificate of Service

        I certify that on March 25, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                            /s/ Sarah Link Schultz
                                                            Sarah Link Schultz




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